   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 1 of 76 PageID #:140




                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS

Bureau of Consumer Financial         )
Protection,                          )       Case No. 1:20-cv-04176
                                     )
       Plaintiff,                    )
                                     )
         vs.                         )
                                     )
Townstone Financial, Inc. and        )
Barry Sturner                        )
                                     )
       Defendants.                   )

 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ COMBINED MOTION
              TO DISMISS PLAINTIFF’S COMPLAINT




                                             Date: February 8, 2021

                                             Respectfully submitted,

                                             /s/ Sean P. Burke
                                             Sean P. Burke #6277203
                                             E. Brenda Kpotufe # 34084-49
                                             Mattingly Burke Cohen & Biederman LLP
                                             155 E. Market St., Suite 400
                                             Indianapolis, IN 46204
                                             Sean.Burke@mbcblaw.com
                                             Brenda.Kpotufe@mbcblaw.com

                                             Marx Sterbcow
                                             Sterbcow Law Group
                                             824 Elmwood Park Blvd #205
                                             New Orleans, LA 70123
                                             marx@sterbcowlaw.com

                                             Attorneys for Defendant Townstone
                                             Financial, Inc. and Barry Sturner



                                         i
       Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 2 of 76 PageID #:141




                                                     TABLE OF CONTENTS


I.       Introduction.............................................................................................................................. 1
II.      Facts Plead and Not Plead in the Complaint. ...................................................................... 2
III.     Argument. ................................................................................................................................. 3
         A. Rule 12(b)(6) Standard. .............................................................................................. 3
         B. Reg. B and the Bureau Improperly Attempt to Expand ECOA’s Reach. ............. 4
               (1) The Complaint Seeks to Punish Behavior that Is Not Regulated by ECOA. ......... 4
               (2) Precedent Holds that ECOA Cannot Be Extended to Reach Persons Who Are Not
                   “Applicants,” And Thus, the Bureau’s Complaint Must Fail ................................. 6
               (3) ECOA Does Not Mandate Advertising Practices, Demographic Hiring Quotas, or
                   Disparate Impact Claims, so the Complaint Should be Dismissed......................... 8
               (4) The Bureau Improperly Seeks to Use a Disparate Impact Theory of
                   Discrimination under ECOA................................................................................... 9
               (5) Other Courts Have Recognized that They Must Stop the Bureau From Exceeding
                   Its Statutory Authority. ......................................................................................... 10
         C. Even if a Claim of Potential Discouragement of “Prospective Applicants”
            Existed under ECOA, It Would Run Afoul of the First Amendment. ................. 12
               (1) Reg. B and the Bureau’s Enforcement Violate the First Amendment Because They
               Are Content and Viewpoint-Based Bans of Free Speech that Are Not Narrowly
               Tailored to Serve Compelling State Interests. ............................................................ 13
               (2) Reg. B and the Bureau’s Enforcement Violate the First Amendment Because They
               Are Unconstitutionally Vague and Overbroad as Applied to Townstone and on Their
               Face. ............................................................................................................................ 16
                    i. Reg. B Violates the First Amendment as Applied to Townstone. ..................... 18
                    ii. Reg. B Violates the First Amendment Because It Is Facially Invalid. .............. 20
         D. The Bureau’s Use of Reg. B Violates the Fifth Amendment. ................................ 22
         E. The Bureau Alleged No Other Violations of Federal Consumer Financial Law,
            and Thus, Count II Fails. ......................................................................................... 23
IV.      The Complaint Should be Dismissed With Prejudice. ..................................................... 23
V.       Conclusion ..............................................................................................................................25




                                                                         ii
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 3 of 76 PageID #:142




                                                  TABLE OF AUTHORITIES


CASES
Auer v. Robbins, 519 U.S. 452 (1997) ............................................................................................ 6
Bartucci v. Wells Fargo Bank N.A., No. 14 CV 5302, 2015 WL 6955482 (N.D. Ill. Nov. 10,
  2015)............................................................................................................................................ 7
Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ........................................................................... 3
Brumfield v. City of Chicago, 735 F.3d 619 (7th Cir. 2013) .................................................. 5, 8, 9
Buckley v. Valeo, 424 U.S. 1 (1976) ....................................................................................... 16, 21
Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837 (1984) ......... 5, 9
Citizens United v. Fed. Election Comm'n, 558 U.S. 310 (2010) .................................................. 13
Ctr. for Individual Freedom v. Madigan, 697 F.3d 464 (7th Cir. 2012) ...................................... 16
F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239 (2012)....................................................... 16
FEC v. Wisconsin Right to Life, 551 U.S. 449, 567 (2007) .......................................................... 16
Hawkins v. Cmty. Bank of Raymore, 761 F.3d 937 (8th Cir. 2014) ............................................... 7
Iancu v. Brunetti, 139 S. Ct. 2294, 204 L. Ed. 2d 714 (2019) ...................................................... 14
Kisor v. Wilkie, 139 S. Ct. 2400, 204 L.Ed.2d 841 (2019) ............................................................. 6
Lake v. Neal, 585 F.3d 1059 (7th Cir. 2009) .................................................................................. 4
Moran Foods v. Mid-Atlantic Market Development, 476 F.3d 436 (7th Cir. 2007)....................... 6
Nat'l Inst. of Family & Life Advocates v. Becerra, 138 S. Ct. 2361, 201 L. Ed. 2d 835 (2018) .. 15
New Louisiana Holdings, LLC v. Arrowsmith, No. 11 C 5031, 2012 WL 6061710 (N.D. Ill. Dec.
  4, 2012)........................................................................................................................................ 8
R.A.V. v. St. Paul, 505 U.S. 377 (1992) ........................................................................................ 14
Reed v. Town of Gilbert, Ariz., 576 U.S. 155 (2015) .............................................................. 13, 14
Regions Bank v. Legal Outsource PA, 936 F.3d 1184 (11th Cir. 2019) ......................................... 7
RL BB Acquisition, LLC v. Bridgemill Commons Dev. Grp., LLC, 754 F.3d 380 (6th Cir. 2014). 7
Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819 (1995) .............................. 14
Skidmore v. Swift Co, 323 U.S. 134 (1944) .................................................................................... 6
Snyder v. Phelps, 562 U.S. 443 (2011) ......................................................................................... 12
Texas Dep’t of Hous. and Comty. Affairs v. Inclusive Communities Project, Inc., 135 S. Ct. 2507
  (2015) .................................................................................................................................... 9, 10
United States v. Williams, 553 U.S. 285 (2008) ..................................................................... 16, 22

STATUTES
15 U.S.C. § 1691(a)(1) .................................................................................................................... 4
15 U.S.C. § 1691(a)(b). ................................................................................................................... 4
15 U.S.C. §§ 1691–1691f ............................................................................................................... 1

REGULATIONS
12 C.F.R. § 1002.4 .............................................................................................................. 5, 13, 17
12 C.F.R. Part 1002......................................................................................................................... 4




                                                                        iii
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 4 of 76 PageID #:143




I.    Introduction.

           The Bureau of Consumer Financial Protection (“Bureau”) amended its complaint (the

 “Complaint”) is an unsuccessful attempt to plead around the constitutional and statutory

 infirmities. Its new Complaint remains flawed and must be dismissed for the following

 reasons: (1) contrary to the express language used in the Equal Credit Opportunity Act

 (“ECOA”), 15 U.S.C. § 1691, et. seq., the Bureau improperly seeks to expand ECOA’s reach

 to include “prospective applicants”, to regulate behavior before a “credit transaction” ever

 takes place, to create affirmative advertising and hiring requirements based on demographics,

 and to bring a discrimination case based on an inapplicable “disparate impact” theory; (2)

 contrary to the First Amendment, the Bureau unconstitutionally seeks to regulate the content

 and viewpoint of protected speech and does so in a way that is unconstitutionally overbroad

 and vague both as applied to Townstone and on its face; and (3) the regulation the Bureau

 seeks to enforce is unconstitutionally vague in violation of the Fifth Amendment’s due process

 clause both as applied and facially.

           The Bureau’s attempt to assert an individual, derivative claim against Townstone

 Financial, Inc.’s (“Townstone”) owner, Barry Sturner (“Sturner”), should also be dismissed

 because even if that claim were well taken, which is expressly denied, it only becomes relevant

 if the Bureau succeeds on its claims against Townstone, which for reasons articulated herein, it

 cannot.

           Townstone and Sturner ask this Court to dismiss the Bureau’s Complaint with

 prejudice because any further attempt to amend is futile.




                                                1
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 5 of 76 PageID #:144




II.    Facts Plead and Not Plead in the Complaint.

        Even after the Bureau amended its Complaint, it remains devoid of any factual

allegation that Townstone behaved improperly towards any actual applicant or with respect to

any bona fide credit transaction that falls within the purview of ECOA. Instead, the Complaint

alleges that Townstone acted or failed to act only with regard to prospective applicants, which

activity is not regulated under ECOA. For example, Doc. 27, ¶22 alleges: “Townstone has

engaged in acts or practices directed at prospective applicants that, together and separately,

would discourage prospective applicants, on the basis of race, from seeking or obtaining credit

for properties within the Chicago MSA.” (See also, Doc. 27, ¶¶5, 32, 39, 41, 52, 54, and 56,

each of which only complain about actions or inactions relating to “prospective applicants”)

(emphasis added). 1

        Part of Townstone’s advertising efforts include producing the Townstone Financial

Show, a community-based talk radio show available throughout the Chicago MSA and widely

available on the internet. (Doc. 27, ¶29). On the show, Townstone’s team educates listeners on

financial and real estate issues involving home purchasing and mortgage loans, answers

mortgage questions from the public, but also frequently discusses topics of public and political

interest such as food, sports, politics, including crime and policing in Chicago.

        Despite no statutory basis to regulate Townstone’s speech, the Bureau excerpts a few

comments out of context from hundreds of broadcasting hours and alleges that those statements



1
  Townstone – as it must – treats the Bureau’s factual allegations as true for purposes of this motion only.
Townstone disputes the Bureau’s allegations that Townstone engaged in any discriminatory behavior and provided
the Bureau with independent, objective evidence demonstrating Townstone’s marketing efforts encourage, rather
than discourage African-American applicants to apply to Townstone and that Townstone was not an outlier in terms
of generating applications from majority African-American neighborhoods in Chicago. In addition, as admitted by
the Bureau, Townstone’s marketing efforts targeted the widest possible geographic area, including all of Chicago,
which is the polar opposite of redlining.


                                                       2
       Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 6 of 76 PageID #:145




“discourage African-American prospective applicants from applying for mortgage loans, or

making or pursuing an application, including from Townstone”. (Doc. 27, ¶¶32, 33-39 2). In one

example, there was a discussion about the crime rates on the southside of Chicago in which a

speaker equated the rush one gets from skydiving to walking through the southside at 3 a.m. in

the morning. (Doc. 27, ¶37). The Bureau alleges that discussion somehow discouraged

prospective African-Americans from applying for credit. The Bureau also argues that, because

Townstone allegedly did not affirmatively target advertising specifically to African-Americans,

and because Townstone allegedly had no African-American loan officers, Townstone

discouraged prospective African-American applicants. (Doc. 27, ¶¶40, 51).

          Count III, which alleges that Sturner engaged in a fraudulent transfer, badly

misrepresents the circumstances surrounding Sturner’s monetary transfer, the effect of the

transfer on Townstone, and Townstone’s post-transfer behavior. 3 Nonetheless, even if the facts

alleged were true, Count III fails because it is wholly derivative of Count I, which is improper.

III.       Argument.

          A.      Rule 12(b)(6) Standard.

           A complaint must allege “enough facts to state a claim to relief that is plausible on its

    face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). While the Court must accept all

2
  In Paragraphs 33 and 34, the Bureau recounts statements of Townstone’s former president that were made in
January 2014 – well beyond the five-year statute of limitations period under ECOA. The Bureau appears to include
these dated, and wholly out of context, statements of social commentary made by a former employee as a means to
inflame the Court, not because they can be legally actionable.
3
  While Sturner must accept the facts as true at this stage, the evidence will show that instead of trying to “hinder,
delay, or defraud the Bureau” Sturner actually voluntarily disclosed the transfer to the Bureau and never made any
attempt to hide it. (Doc. 27, ¶72). As the Bureau knows, prior to the transfer being made, Townstone downsized its
business from mortgage lender to a non-depository mortgage broker, as it is much less expensive to operate a
mortgage brokerage business and there are lower net worth requirements mortgage brokers. Accordingly, it was
perfectly appropriate for Sturner to lower his capital investment in his business. Townstone remains a going
concern, was never insolvent, and Sturner does not pay Townstone’s bills personally. Finally, as reflected in its
second Motion to Dismiss, Townstone and Sturner do not believe that Townstone will incur financial obligations to
the Bureau based on the Bureau’s Complaint.

                                                          3
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 7 of 76 PageID #:146




well-pled factual allegations in the Complaint as true, the factual allegations in the Bureau’s

Complaint do not raise a right to relief above the speculative level and should be dismissed.

Lake v. Neal, 585 F.3d 1059, 1060 (7th Cir. 2009).

        B.      Reg. B and the Complaint Improperly Attempt to Expand ECOA’s Reach.

               (1) The Complaint Seeks to Punish Behavior that Is Not Regulated by ECOA.

        ECOA never mentions and explicitly does not regulate behavior relating to prospective

applicants. Rather, ECOA makes it “unlawful for any creditor to discriminate against any

applicant with respect to any aspect of a credit transaction . . . on the basis of race, color,

religion, national origin, sex or marital status, or age…” 15 U.S.C. § 1691(a)(1) (emphasis

added). ECOA defines the term “applicant” to mean “any person who applies to a creditor

directly for an extension, renewal, or continuation of credit, or applies to a creditor indirectly

by use of an existing credit plan for an amount exceeding a previously established credit

limit.” 15 U.S.C. § 1691(a)(b). There is no ambiguity in ECOA’s reach. Under the heading

“Scope of prohibition”, ECOA unambiguously prohibits discrimination against an “applicant”,

or a “person who applies” for credit. 15 U.S.C. § 1691(a). There is no language in this section

of ECOA that regulates any behavior relating to relating to prospective “applicants” who have

not yet applied for credit. While ECOA Section 1691 uses the word “applicant” twenty-six

(26) times, it never once uses the phrase prospective applicant or proscribes any conduct prior

to the filing of an application.

        ECOA’s implementing regulation – Regulation B at 12 C.F.R. Part 1002 (“Reg. B”) –

improperly expands ECOA’s reach to include not just “applicants” but “prospective

applicants”, i.e., individuals who have not applied and may never apply for credit. Reg. B goes

even further by prohibiting “Discouragement” of “prospective applicants”:


                                                4
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 8 of 76 PageID #:147




       (b) Discouragement. A creditor shall not make any oral or written statement, in
       advertising or otherwise, to applicants or prospective applicants that would
       discourage on a prohibited basis a reasonable person from making or pursuing an
       application.

12 C.F.R. § 1002.4.

       The Complaint seeks to further expand ECOA by claiming that ECOA affirmatively

mandates specific targeted advertising to certain racial and ethnic groups, requires affirmative

action-like hiring practices, and dictates that certain amounts of African-American applications

are received. (Doc. 27, ¶¶40, 51). By attempting to extend ECOA’s reach beyond the express

and unambiguous language of the statute, Reg. B and the Bureau’s Complaint overreach.

        When a statue is unambiguous, agency regulations, or statutory interpretations are not

 entitled to deference. Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467

 U.S. 837, 842-43 (1984) (“If the intent of Congress is clear, that is the end of the matter; for

 the court, as well as the agency, must give effect to the unambiguously expressed intent of

 Congress.”); Brumfield v. City of Chicago, 735 F.3d 619, 626 (7th Cir. 2013) (“if the statute is

 unambiguous on the question, we give effect to the unambiguous statutory language and the

 inquiry goes no further.”). If the statute is ambiguous, “the second step is to determine whether

 the agency has promulgated a reasonable interpretation of the statute; if so, we defer to that

 interpretation.” Brumfield, 735 F.3d at 626.

        To the extent Reg. B and/or the Bureau attempt to regulate behavior relating to

 “prospective applicants”, no deference should be given to Reg. B or the Bureau’s

 interpretation thereof. Even if there were some ambiguity regarding the term “applicant,” there

 is no reasonable, or even plausible interpretation of “applicant” that could expand it to include

 all “prospective applicants” or non-applicants who have not yet started to engage in any “credit

 transaction”. Similarly, the Bureau’s interpretation in Reg. B is not deserving of deference,

                                                5
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 9 of 76 PageID #:148




    because “Discouragement” – a term that is not defined or even mentioned in ECOA – is not

    reasonably included within the unambiguous term “discrimination”.

           From a policy perspective, the scope of liability created by an expansion of ECOA to

    include the vague term “prospective applicants”, which theoretically includes the entire world

    is unreasonable and unworkable. Such an absurd result could not have been intended by

    Congress. 4 It also makes no sense that Congress, by banning discrimination to applicants,

    would have intended the Bureau to regulate all industry statements to unilaterally determine if

    there were ever any “Discouragement” to any potential homeowner. The Complaint exceeds

    the Bureau’s statutory jurisdiction, limitations, and authority, is contrary to Townstone’s

    constitutional rights and privileges, and thus, is unlawful and void under the Administrative

    Procedures Act, 5 U.S.C. § 706 (“APA”).

                  (2) Precedent Holds that ECOA Cannot Be Extended to Reach Persons Who Are
                      Not “Applicants,” And Thus, the Bureau’s Complaint Must Fail.

           Multiple circuits, including the Seventh Circuit, have rejected attempts to expand

    ECOA’s reach beyond “applicants,” based on the express, unambiguous language used in the

    statute. The Seventh Circuit refused an attempt to expand the definition of “applicant” in

    Moran Foods v. Mid-Atlantic Market Development, 476 F.3d 436 (7th Cir. 2007). There, the

    Court did not allow an expansion of “applicant” to include guarantors of credit applications,

    who were included within the version of Reg. B in effect at the time. The Seventh Circuit had

    no trouble finding this regulatory expansion had no basis in the statute. Id. at 441. The Court

    succinctly stated, “there is nothing ambiguous about ‘applicant’ and no way to confuse an

4
  In addition, where Reg. B or the Bureau’s interpretation of ECOA fails the test for Chevron deference, it also fails
the test enunciated by the Supreme Court for Auer deference to an agency’s interpretation of its own rules, because
the Bureau’s interpretation of Reg. B is unreasonable and creates “unfair surprise”. Kisor v. Wilkie, 139 S. Ct. 2400,
204 L.Ed.2d 841 (2019); Auer v. Robbins, 519 U.S. 452 (1997). Similarly, because such interpretations are
unreasonable, they are also not deserving of Skidmore deference. See Skidmore v. Swift Co, 323 U.S. 134 (1944).


                                                          6
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 10 of 76 PageID #:149




 applicant with a guarantor.” Id. at 441. The Court also noted the parade of horribles that would

 occur if the term “applicant” were stretched to include guarantors, and explained that “the

 Congress that enacted the Act would have been unlikely to accept” the “vistas of liability” that

 would accompany such an interpretation. Id.

        Other circuits that have addressed this issue similarly declined to expand the statutory

 definition of “applicant”. Hawkins v. Cmty. Bank of Raymore, 761 F.3d 937, 942 (8th Cir.

 2014) (“because the text of the ECOA is unambiguous regarding whether a guarantor

 constitutes an applicant, we will not defer to the Federal Reserve’s interpretation of applicant,

 and we conclude that a guarantor is not protected from marital-status discrimination by the

 ECOA.”), aff’d, 136 S. Ct. 1072, 194 L. Ed. 2d 163 (2016); Regions Bank v. Legal Outsource

 PA, 936 F.3d 1184, 1193 (11th Cir. 2019) (“we agree with the Seventh and Eighth Circuits

 that the ordinary meaning of ‘applicant’ does not encompass a guarantor, we hold that no

 deference is due”).

       Even the Sixth Circuit, which held that “applicant” could be read to include a guarantor,

did so only because a guarantor actually appears on a credit application. RL BB Acquisition,

LLC v. Bridgemill Commons Dev. Grp., LLC, 754 F.3d 380, 385 (6th Cir. 2014) (noting that the

definition of “applicant” could “encompass all those who offer promises in support of an

application—including guarantors, who make formal requests for aid in the form of credit for a

third party.”) (emphasis added). Thus, even under the Sixth Circuit’s logic, “applicant” cannot

be stretched to include “prospective applicants” because there is no actual application. Id.

        Courts in this district routinely require an actual application as a prerequisite to stating

 an ECOA claim. In Bartucci v. Wells Fargo Bank N.A., No. 14 CV 5302, 2015 WL 6955482,

 at *2 (N.D. Ill. Nov. 10, 2015), the court stated that, “[t]o survive a 12(b)(6) motion to dismiss


                                                 7
  Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 11 of 76 PageID #:150




an ECOA claim, Plaintiff must allege that he was an applicant, as defined by the ECOA, and

that Defendant treated him less favorably because of his national origin or age.” See also New

Louisiana Holdings, LLC v. Arrowsmith, No. 11 C 5031, 2012 WL 6061710, at *5 (N.D. Ill.

Dec. 4, 2012) (“[t]o state a prima facie claim of discrimination under the ECOA, plaintiffs

must allege that they were applicants, as defined by the ECOA”.)

       The Complaint only makes allegations about Townstone’s interactions with

prospective applicants who are not governed by ECOA. This attempted expansion of

“applicant” is inconsistent with ECOA and case law interpreting the same. Because the term

“applicant” is unambiguous and does not include “prospective applicants”, this Court should

dismiss the Complaint.

              (3) ECOA Does Not Mandate Advertising Practices, Demographic Hiring Quotas,
                  or Disparate Impact Claims, so the Complaint Should be Dismissed.

       The Complaint should also be dismissed because it attempts to improperly expand

ECOA to impose: (1) affirmative requirements to target advertising to specific racial or ethnic

groups; (2) a hiring quota for certain racial or ethnic groups; and (3) a disparate impact theory

that would require business to have success with specific racial or ethnic groups. Because none

of these affirmative requirements can be found in ECOA, or even Reg. B, the Bureau’s attempt

to impose such requirements through litigation should fail. Brumfield, 735 F.3d at 626 (“if the

statute is unambiguous on the question, we give effect to the unambiguous statutory language

and the inquiry goes no further.”).

       The Complaint – apparently through Reg. B’s “Discouragement” definition – seeks to

expand ECOA and hold Townstone accountable for not affirmatively targeting advertising to

African-Americans, (Doc. 27, ¶40), and/or for not hiring African-American loan officers.

(Doc. 27, ¶51). The Complaint also seeks to interpret ECOA and Reg. B in a manner that

                                               8
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 12 of 76 PageID #:151




    would create an affirmative requirement to have a certain amount of business success with

    certain racial or ethnic demographic groups to avoid a claim of an ECOA violation. (Doc. 27,

    ¶¶45-50). Nothing in ECOA or Reg. B. creates these requirements or supports a cause of

    action for violating any such non-existent requirements.

           ECOA’s scope is unambiguously limited to regulating behavior between creditors and

    applicants. Chevron, 467 U.S. at 842-43 (“If the intent of Congress is clear, that is the end of

    the matter; for the court, as well as the agency”); Brumfield, 735 F.3d at 626. The Bureau’s

    interpretation is outside of the authority of ECOA and violates the APA, making it unlawful

    and void. Rather than seeking amendments to ECOA, or even engaging in a “notice and

    comment” process to amend Reg. B, the Bureau attempts to expand ECOA’s obligations on a

    case-by-case basis through litigation. Not only is this tactic prohibited by the clear,

    unambiguous language used in ECOA, but it would create a predictably unpredictable

    situation in which mortgage lenders would have no idea if they were ever running afoul of the

    Bureau’s newly-created affirmative obligations under ECOA. 5

               (4) The Bureau Improperly Seeks to Use a Disparate Impact Theory of
                   Discrimination under ECOA.

           The Complaint repeatedly alleges that Townstone did not have enough success with

    African-American applicants when compared to its alleged peers. These disputed allegations

    are irrelevant because there is no “disparate impact” theory of discrimination ECOA. 6 Instead

    of basing their allegations on direct discrimination against applicants or even prospective

5
 For example, the Complaint does not address how much targeted advertising to African-Americans is enough, how
many African-American loan officers must be hired, or how much “business success” is necessary to be compliant
with ECOA.
6
  In contrast to a “disparate treatment” claim in which the plaintiff must prove a discriminatory intent, a “disparate
impact” claim can be proven without evidence intent based on a neutral practice’s disproportionately adverse effect
on minorities that are otherwise unjustified by a legitimate rationale. See Texas Dep’t of Hous. and Comty. Affairs
v. Inclusive Communities Project, Inc., 135 S. Ct. 2507, 2513 (2015).

                                                          9
  Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 13 of 76 PageID #:152




applicants, the Bureau bases its ECOA claim on the alleged disproportionate effects or

disparate impact of Townstone’s marketing practices.

        The Bureau’s pursuit of a “disparate impact” claim under ECOA must fail because

ECOA does not contain any of the required results-oriented statutory language. Disparate

impact claims are only authorized if the enabling statute allows them. For instance, the Fair

Housing Act (“FHA”) includes results-oriented language (which makes it illegal, in pertinent

part, to “otherwise make unavailable…a dwelling”) and therefore supports the disparate

impact theory of liability. 42 U.S.C. § 3604(a); Texas Dep’t of Hous. and Comty. Affairs v.

Inclusive Communities Project, Inc., 135 S. Ct. 2507, 2518 (2015) (“results-oriented language

counsels in favor of recognizing disparate-impact liability”). Unlike the FHA, ECOA does not

include any such results-oriented language, and thus, disparate impact theory is unavailable.

See also Unsafe at Any Bureaucracy, Part III: The Bureau’s Vitiated Legal Case Against

Auto-Lenders, Report Prepared by the Republican Staff of the Committee on Financial

Services, U.S. House Of Representatives, Hon. Jeb Hensarling, Chairman, 115th Congress,

First     Session       (Jan.    18,      2017),       available    at     https://republicans-

financialservices.house.gov/uploadedfiles/1-18-17_cfpb_indirect_auto_staff_report_iii.pdf.

        This Court should reject the Bureau’s attempt to expand ECOA to allow for a disparate

impact theory of liability.

           (5) Other Courts Have Recognized that They Must Stop the Bureau From Exceeding
               Its Statutory Authority.

        In multiple other cases, courts found it necessary to prevent the Bureau from exceeding

its statutory or regulatory authority. For example, a recent federal court in the District of

Columbia held that the Bureau’s positions in support of expanding their authority lacked merit.

PayPal v. the Consumer Financial Protection Bureau, et. al, Civil Case No.19-3700 (Dist.

                                              10
  Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 14 of 76 PageID #:153




Col. Dec. 30, 2020). There, PayPal challenged the Bureau’s interpretation of certain portions

of the Dodd-Frank Act, namely the Electronic Funds Transfer Act (“EFTA”), 15 U.S.C.

§1693(b), and the Truth in Lending Act (“TILA”), 15 U.S.C. §1601. EFTA gives the Bureau

the authority to “issue model clauses for optional use by financial institutions.” Id. (Emphasis

added). Under the auspices of ETFA, the Bureau created a mandatory form that required

certain language be used and required a thirty-day restricted period for certain credit

transactions. Pursuant to TILA, which regulates the type of disclosures that must be made to

consumers, the Bureau created restrictions on the type of credit offered.

       In siding with PayPal on both issues, the court repeatedly looked no further than the

language of the enabling statute. Because EFTA only allows for optional forms and because

TILA only allows the Bureau to regulate disclosures, the court found that the Bureau’s actions

– in creating a mandatory form and making a substantive guideline rather than a disclosure

requirement – well exceeded their authority. Id. at 9. In finding that the Bureau’s actions were

inconsistent with the statutory language, the court emphatically held “the plain language of the

statute forbids it!” Id. When the Bureau argued that it was simply effectuating TILA’s purpose,

the judge was unimpressed: “The Bureau cannot simply rely on the overarching purpose of the

statute without giving credence to how Congress intended the agency to fulfill the statute’s

purpose.” Id. at 19.

       Similarly, in PHH Corp. v. CFPB, 839 F.3d 1, 44 (D.C. Cir. 2016), aff’d in part, rev’d

in part on other grounds, 881 F.3d 75 (D.C. Cir. 2018), the D.C. Circuit rejected a Bureau

interpretation of the Real Estate Settlement Procedures Act in a case in which the agency

sought over $100 million in damages. In PHH, the D.C. Circuit held that the Bureau’s

interpretation of the statute was not entitled to any Chevron deference. Id. at 43. In the D.C.


                                               11
  Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 15 of 76 PageID #:154




Circuit’s three-judge panel opinion, which was later affirmed en banc, the court rejected the

Bureau’s interpretation and noted that it was “not a close call,” because the statute uses

“nothing” and “[n]othing means nothing.” Id. at 41. The court stated that “the CFPB’s

interpretation flouts not only the text of the statute but also decades of carefully and repeatedly

considered official government interpretations.” PHH Corp., 839 F.3d at 42.

       Here, as in PayPal and PHH, the Bureau’s actions exceed the statutory language and

its express direction from Congress. ECOA gives the Bureau the power to prevent

discrimination against “applicants” engaged in a “credit transaction.” The Complaint, which

attempts to prohibit “Discouragement” of “prospective applicants,” create of affirmative

minority hiring quotas, target demographic-based advertising requirements, and add a

“business success” test, far exceeds the Bureau’s statutory authority under ECOA. Because the

Bureau’s Complaint exceeds its statutory authority in multiple ways, Townstone asks this

Court to dismiss the Bureau’s ECOA count (Count I) and its companion Count II.

       C.      Even if a Claim of Potential Discouragement of “Prospective Applicants”
               Existed under ECOA, It Would Run Afoul of the First Amendment.

       The First Amendment states that “Congress shall make no law...abridging the freedom

of speech”. “[S]peech on ‘matters of public concern’…is ‘at the heart of the First Amendment’s

protection.’” Snyder v. Phelps, 562 U.S. 443, 451 (2011). “Speech on public issues occupies the

highest rung of the hierarchy of First Amendment values and is entitled to special protection.”

Id.

       The statements upon which the Bureau seeks to punish Townstone directly reflect on the

public issue of crime in Chicago and the benefits of policing, two very real issues as recognized

by commentators and citizens from across the political spectrum. Townstone – a Chicago-based

business – is well versed in these issues and has every right to comment upon them. Citizens

                                                12
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 16 of 76 PageID #:155




 United v. Fed. Election Comm'n, 558 U.S. 310 (2010) (recognizing that corporations have free

 speech rights). Because Townstone’s speech is tantamount to political speech, it cannot be

 suppressed by the government. Id. at 319 (“[t]he Government may regulate corporate political

 speech through disclaimer and disclosure requirements, but it may not suppress that speech”).

        Despite these realities, the Bureau seeks to punish Townstone’s exercise of its First

 Amendment rights by citing violations of ECOA and Reg. B. These efforts must fail because

 Townstone’s political speech cannot be suppressed, and for at least two reasons: (1) Reg. B and

 the Bureau’s enforcement of it violate the First Amendment because they are content and

 viewpoint-based prohibitions on speech; and (2) Reg. B and the Bureau’s enforcement of it

 violate the First Amendment because they are constitutionally overbroad and vague as applied

 to Townstone and on their face.

               (1) Reg. B and the Bureau’s Enforcement Violate the First Amendment Because
                   They Are Content and Viewpoint-Based Bans of Free Speech that Are Not
                   Narrowly Tailored to Serve Compelling State Interests.

       Reg. B and the Bureau’s enforcement of Regulations B impose impermissible content

and viewpoint-based restrictions on Townstone’s speech. These realities are apparent on the face

of Reg. B’s prohibition on “Discouragement” – “A creditor shall not make any oral or written

statement. . . that would discourage”. 12 C.F.R. § 1002.4.

       Reg. B plainly “applies to particular speech because of the topic discussed or the idea or

message expressed.” Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 155 (2015). Content-based

laws, like Reg. B “are presumptively unconstitutional and may be justified only if the

government proves that they are narrowly tailored to serve compelling state interests.” Id. at 163.

Viewpoint discriminatory laws, like Reg. B, are “an egregious form of content discrimination.”

Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819, 829 (1995). “When the


                                                13
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 17 of 76 PageID #:156




government targets not subject matter, but particular views taken by speakers on a subject, the

violation of the First Amendment is all the more blatant.” Id. (citing R.A.V. v. St. Paul, 505 U.S.

377, 391 (1992)). The Supreme Court has been particularly emphatic about striking down

viewpoint discrimination as Justice Alito explained in his concurring opinion in Iancu v.

Brunetti, 139 S. Ct. 2294, 2302, 204 L. Ed. 2d 714 (2019) where he stated:

         Viewpoint discrimination is poison to a free society. * * * At a time when free
         speech is under attack, it is especially important for this Court to remain firm on
         the principle that the First Amendment does not tolerate viewpoint discrimination.
         We reaffirm that principle today.

Id.

         Reg. B is content-based because a violation turns on the content of a statement – one only

has to look at the Complaint, which literally complains about the content of several of

Townstone’s statements. (Doc. 27, ¶¶33-40). Moreover, because Reg. B prevents only

“discouragement”, the regulation is viewpoint based. Accordingly, the burden is on the Bureau

to demonstrate that Reg. B and its efforts further a compelling interest and are narrowly tailored

to achieve that interest. Reed, 576 U.S. at 171.

         In a possible attempt to support the Bureau’s position, the Complaint references ECOA’s

purpose: “to promote the availability of credit to all creditworthy applicants without regard to

race, color, religion, national origin, sex, marital status, or age.” 12 C.F.R. § 202.1. In R.A.V., the

Supreme Court found that helping “to ensure the basic human rights of members of groups that

have historically been subjected to discrimination” was a compelling interest, but nevertheless

struck St. Paul’s cross-burning ordinance. R.A.V., 505 U.S. at 395. As in R.A.V., while the

Bureau’s interpretation of ECOA and Reg. B may be well intended, like St. Paul in R.A.V., the

Bureau cannot demonstrate that this content and viewpoint-based Regulation and the Bureau’s

further interpretation of the same is narrowly tailored to meet ECOA’s purpose. In R.A.V., the

                                                   14
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 18 of 76 PageID #:157




Court explained, “Let there be no mistake about our belief that burning a cross in someone’s

front yard is reprehensible. But St. Paul has sufficient means to prevent such behavior without

adding the First Amendment to the fire.” Id. at 396.

           Even if banning Townstone’s speech could be considered furthering ECOA’s stated

goals, there are more effective, constitutionally permissible ways to achieve that goal. For

example, the federal government can and does create programs that assist applicants and

prospective applicants from protected classes in obtaining credit. 7

           The Bureau claims Townstone violated ECOA by engaging in political speech and social

commentary and by not engaging in targeted advertising to African-Americans in Chicago.

There can be no such prohibition on political speech or affirmative obligation to speak under

ECOA because either would flagrantly violate the First Amendment. In its original and now its

amended Complaint, the Bureau is unable to meet its burden to show that punishing Townstone’s

speech is narrowly tailored to achieve its compelling interest. Rather than preventing Townstone

from speaking on public issues or requiring Townstone to speak, the Government could embark

on educational programs that “promote the availability of credit to all creditworthy applicants

without regard to race, color, religion, national origin, sex, marital status, or age.” See, e.g., Nat'l

Inst. of Family & Life Advocates v. Becerra, 138 S. Ct. 2361, 2376, 201 L. Ed. 2d 835 (2018)

(noting that rather than requiring certain crisis pregnancy centers to place certain notices,

California itself “could inform low-income women about its services ‘without burdening a

speaker with unwanted speech.’”) (internal citations omitted). Because the Bureau cannot meet

its burden, the Complaint should be dismissed.




7
    E.g., Reg. B already permits “special purpose credit programs.” 12 C.F.R. § 1002.8.

                                                          15
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 19 of 76 PageID #:158




               (2) Reg. B and the Bureau’s Enforcement Violate the First Amendment Because
                   They Are Unconstitutionally Vague and Overbroad as Applied to Townstone
                   and on Their Face.

       If the federal government intends on regulating speech, including political speech, the

Supreme Court mandates precision to assure the appropriate “breathing room” to prevent “chill”

through the doctrines of vagueness and overbreadth. In Buckley v. Valeo, 424 U.S. 1 (1976), the

Supreme Court explained that the First Amendment regulation requires specificity and

objectivity, “‘[b]ecause First Amendment freedoms need breathing space to survive, government

may regulate in the area only with narrow specificity.’” Id. at 41 n.48 (internal citations

omitted)). This is because “‘vague laws may not only ‘trap the innocent by not providing fair

warning’ or foster ‘arbitrary and discriminatory application’ but also operate to inhibit protected

expression by inducing ‘citizens to ‘“steer far wider of the unlawful zone.’” Id. (citations

omitted).

       In the context of First Amendment challenges, “vagueness and overbreadth are two sides

of the same coin, and the two sorts of challenges are often conceived of as ‘alternative and often

overlapping’ theories for relief on the same claim.” Ctr. for Individual Freedom v. Madigan, 697

F.3d 464, 479 (7th Cir. 2012) (internal citations omitted). The void-for-vagueness doctrine

protects against any law that “fails to provide a person of ordinary intelligence fair notice of what

is prohibited or is so standardless that it authorizes or encourages seriously discriminatory

enforcement.” F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012) (internal

citations omitted). The overbreadth doctrine prohibits laws that restrict “a substantial amount of

protected speech.” United States v. Williams, 553 U.S. 285, 292 (2008).

       In FEC v. Wisconsin Right to Life, 551 U.S. 449, 567 (2007) (“WRTL-II”), the Supreme

Court outlined how courts should safeguard political speech in as-applied challenges. Courts


                                                 16
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 20 of 76 PageID #:159




must (i) reject intent-and-effect tests, (ii) focus on the actual words at issue, (iii) restrict

burdensome discovery and litigation to prevent “chilling speech through the threat of

burdensome litigation,” (iv) “eschew ‘the open-ended rough-and-tumble of factors, which

“invit[es] complex argument in a trial court and a virtually inevitable appeal,’” and (v) “give the

benefit of any doubt to protecting rather than stifling speech.” 551 U.S. at 469 (internal citations

omitted). WRTL-II also mandates that if the challenged communication can be interpreted as

doing something other than violating the First Amendment it must be so interpreted: “[A] court

should find that an ad is the functional equivalent of express advocacy only if the ad is

susceptible of no reasonable interpretation other than as an appeal to vote for or against a

specific candidate.” Id. at 469-70 (emphasis added). Put differently, where the First Amendment

is implicated, the tie goes to the speaker, not the censor. Id. at 474.

       A “statute is facially overbroad only when ‘it prohibits a substantial amount of protected

speech,’ Id. and unconstitutionally vague only when its ‘deterrent effect on legitimate expression

is ... both real and substantial.’ Young v. American Mini Theatres, Inc., 427 U.S. 50, 60, 96 S. Ct.

2440, 49 L.Ed.2d 310 (1976).” Ctr. for Individual Freedom, 697 F.3d at 470.

       Reg. B’s “Discouragement” provision, in its use of vague terms such as “or otherwise”,

“prospective applicants”, “discourage,” and “pursue,” is both vague and overbroad such that it

should not be applied to Townstone or any creditor:

       (b) Discouragement. A creditor shall not make any oral or written statement, in
       advertising or otherwise, to applicants or prospective applicants that would
       discourage on a prohibited basis a reasonable person from making or pursuing
       an application.

12 C.F.R. § 1002.4 (emphasis added).




                                                  17
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 21 of 76 PageID #:160




                       i. Reg. B Violates the First Amendment as Applied to Townstone.

          The Bureau’s allegations in the Complaint demonstrate Reg. B’s vagueness and

overbreadth as applied to Townstone. Initially, the Bureau alleges discouragement, in large part,

based upon statements made on the Townstone Financial Show. The Bureau reads Townstone’s

statements and encourages this Court to read those statements in the most hostile way possible to

portray them as being about race instead of crime or other societal issues. But the Supreme Court

holds that tests restricting political speech must be speech-protective with the benefit of any

doubt always going to free speech. Accordingly, if there is another possible reading of the

statements, e.g., that they are about crime, they cannot be deemed to be about race or

discouraging towards a member of that race. And each statement in the Complaint can be read as

about something besides race (let alone “discouraging” activity based on race).

          The Complaint specifically criticizes Townstone for comparing the rush received from

skydiving to wandering the streets of the southside of Chicago in the middle of the night. (Doc.

27, ¶37). This comment is comparing the adrenalin rush many seek out from certain sports or

activities, such as skydiving, and the adrenalin rush that would come from the common fear of

walking in the dark in an area with a high crime rate. The statement is clearly about crime and

does not mention race. And, if it can be read as being about something other than race, as it can

be, it must be so read.

          Similarly, the discussion of weekends being called “Hoodlum Weekend” is clearly about

crime and the need for police to keep order. (Doc. 27, ¶35). “Hoodlum” typically refers to a “a

violent      person”      or   a    “member       of    a    group      of    criminals.”       See

https://dictionary.cambridge.org/dictionary/english/hoodlum. The statement’s words (which must

be the focus under First Amendment tests) do not address race, but the real problem of crime.


                                                18
    Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 22 of 76 PageID #:161




        The Complaint even complains about comments made a Townstone former employee

that are encouraging the selling and buying of homes (“it’s a great time to buy. . . it’s a great

time to sell”) and discussing preparations that should be made prior to putting a home on the

market. (Doc. 27, ¶34). Those preparations included changing the light fixtures, painting the

house, and a joking reference to taking down the Confederate flag. (Id.). 8 While the Bureau

apparently feels that this discussion discourages African-American applications, Townstone is

puzzled how statements encouraging consumers to buy and sell now and to take down the

Confederate flag – a symbol that may make African-Americans uncomfortable – to make a home

more desirable to African-Americans can somehow be heard to discourage African-American

credit applications. This example convincingly demonstrates how speech can be construed

differently by different people and evidences the vagaries of policing Townstone’s alleged

“discouragement”.

        The Bureau’s attempt to read Townstone’s statements to be about race, when they can,

and should be read as being about something else, (e.g., crime, support of police, and potential

offensiveness of certain symbols, the historical nickname used by local residents for a grocery

store) must be rejected as an overreaching attempt to regulate speech about political issues.

Townstone was exercising its right to speak on issues of public concern on its show. As the

Bureau states in its Complaint, the Townstone Financial Show did not discriminate

geographically and was heard across the entire Chicago MSA, including the Southside, and was

widely available on the internet. (Doc. 27, ¶29). As alleged by the Bureau, the Townstone

Financial Show was designed to create interest in Townstone and to solicit potential credit


8
  The instructions to “change the light fixtures” and “paint from top to bottom” were included in the Bureau’s
original complaint. (Doc. 1, ¶37). To the extent the Bureau attempts to save its complaint by removing context in
the hopes that a stand-alone comment about a Confederate flag would inflame the Court, one hopes that such efforts
would not be rewarded.

                                                       19
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 23 of 76 PageID #:162




applications from the largest geographical area as possible, in light of Townstone’s small-

business marketing budget, by providing free information to the public and showing that “no one

values your mortgage business more than Townstone Financial.” (Doc. 27, ¶¶23-31). It is

counterintuitive and contrary to the case law interpreting the First Amendment to interpret

Townstone’s efforts – that were admittedly designed to encourage mortgage applications – as

simultaneously discouraging the same prospective applicants it was attempting to solicit.

       A final example of how Reg. B is unconstitutional as applied to Townstone is that

Townstone is alleged to have violated ECOA and Reg. B not only for statements it made, but

also for statements it is alleged not to have made. The Bureau seeks to punish Townstone, which

directed ads to the entire Chicago MSA, for “not specifically target[ing] any marketing toward

African-Americans in the Chicago MSA.” (Doc. 27, ¶41). Even if ECOA and Reg. B can be

read to require such an affirmative requirement, ECOA and Reg. B provide no answer to the

questions of how much or the types of targeted advertising that would be necessary to comply.

This vagueness chills speech because it provides Townstone with no notice regarding what

behavior is appropriate.

       Each of these examples demonstrates the vagueness and overbreadth of the Bureau’s

interpretation of ECOA and Reg. B as applied to Townstone. Because Townstone is wholly

unaware of what speech is prohibited or required to comply with its mandates, ECOA and Reg.

B are unconstitutional as applied to it and the Bureau’s Complaint should be dismissed.

                     ii.   Reg. B Violates the First Amendment Because It Is Facially Invalid.

       Reg. B’s “Discouragement” provision negatively impacts so much protected speech that

it should not be applied to anyone, a facial challenge. Each of the examples above demonstrate

the difficulty of applying this definition, not only to Townstone, but to any real-world situation.


                                                 20
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 24 of 76 PageID #:163




       Reg. B’s use of the vague terms and phrases “or otherwise”, “prospective applicants”,

“discourage”, and “pursuing an application” create significant uncertainty for the regulated

person. The phrase “or otherwise” is as vague as the terms “relative to” and “advocating the

election or defeat” of a candidate that were found to be problematic in Buckley. Buckley, 424

U.S. 1 at 50-55 & n.52. While “advertising” may be reasonably clear, adding the descriptor “or

otherwise” makes it wholly ambiguous as to what else is being regulated by Reg. B. For

example, under the “or otherwise” phrase, a creditor could be sanctioned based on a remark

made by one of its employees at a party attended by a “prospective applicant.” That is not what

Congress or the First Amendment intends.

       Further, the phrase “prospective applicant” can be interpreted to mean literally anyone in

the world who has access to the “advertising or otherwise” (even over the internet) that is the

subject of discussion. In addition, the phrasing “pursuing an application” can be interpreted to

mean any action that could lead to the potential submission of an application, including driving

to a creditor’s office, such that discouraging driving could fall under this provision. The

enormous and unknown reach of these terms will have a substantial chilling effect on speech.

       Lastly, the term “discourage” is vague and sweeps in protected content. As demonstrated

above, one person’s encouragement may be another’s “Discouragement”. In addition, there are

some “prospective applicants” that perhaps should be discouraged from applying for a loan for a

myriad of reasons. If the “prospective applicant” is a member of a protected class, potential

lenders would be disincentivized to give proper advice to or discuss underwriting standards with

that person for fear of running afoul of ECOA. And finally, and significantly under the First

Amendment, mortgage lenders would be afraid to engage in political discussions in public media

for fear of the Bureau believing such statements are “discouraging.”


                                               21
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 25 of 76 PageID #:164




       Reg. B’s “Discouragement” provision is both unconstitutionally vague and overbroad

because it creates a “deterrent effect on legitimate expression [that] is…both real and

substantial,” Young v. American Mini Theatres, Inc., 427 U.S. at 60, and “prohibits a substantial

amount of protected speech, Williams, 553 U.S. at 292. For these reasons, Reg. B should not be

applied to Townstone or similarly situated companies.

        D.      The Bureau’s Use of Reg. B Violates the Fifth Amendment.

       The due process clause of the Fifth Amendment states that no person shall be “deprived

of life, liberty, or property, without due process of law.” Indeed, “a fundamental principle in our

legal system is that laws which regulate persons or entities must give fair notice of conduct that

is forbidden or required.” F.C.C., 567 U.S. at 253. “Even when speech is not at issue, the void

for vagueness doctrine addresses at least two connected but discrete due process concerns first,

that regulated parties should know what is required of them so they may act accordingly; second,

precision and guidance are necessary so that those enforcing the law do not act in an arbitrary or

discriminatory way.” Id.

       Reg. B’s definition of “Discouragement” is unconstitutionally vague and fails to give fair

notice of the specific conduct that the Bureau arbitrarily interprets to be forbidden or required in

this Complaint. There is simply no way for any creditor to know what is proscribed by the

Bureau under Reg. B. The Bureau seeks to punish Townstone for (1) expressing political speech

on a radio show and podcast; (2) not purchasing advertising targeting specific minority groups;

(3) not hiring loan officers that include every specific racial or ethnic demographic in their

market area; and (4) failing a “business success” test for which the Bureau uses secret metrics

(e.g., creditors have no prior notice of the “peer lenders” to which the Bureau will compare them,

or the threshold for compliance). These prohibitions are nowhere in ECOA or Reg. B, nor does


                                                22
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 26 of 76 PageID #:165




the Bureau provide any guidance about how to comply with them to avoid enforcement. This is

the epitome of vagueness and a failure of due process. In its attempt to use ECOA and Reg. B to

punish Townstone’s actions and inactions, the Complaint violates the due process clause as

applied to Townstone and Reg. B’s “Discouragement” provision is unconstitutionally vague on

its face.

            E.     The Bureau Alleged No Other Violations of Federal Consumer Financial
                   Law, and Thus, Count II Fails.

            Counts II and III of the Bureau’s Complaint against Townstone and Sturner,

 respectively, must be dismissed because they are wholly derivative of its ECOA claim, which,

 as described, is fatally flawed. Count II seeks to impose liability under Consumer Financial

 Protection Act of 2010 (the “CFPA”), 12 U.S.C. § 5536(a)(1)(A). The CFPA punishes

 “covered persons” like Townstone if they violate any “Federal consumer financial law”, like

 ECOA. Paragraph 61 of the Complaint expressly only mentions violations of ECOA as the

 predicate acts that would also create liability under the CFPA. (Doc. 27, ¶61). Accordingly, if

 Count I, which alleges violations of ECOA, is dismissed, the Bureau’s tag-along CFPA claim

 should also be dismissed.

            Count III alleges that Sturner improperly transferred money to himself that allegedly

 should have been available to the Bureau if the Bureau prevails on its ECOA violations, Count

 I. For the reasons stated herein, Count I should be dismissed. With no underlying liability,

 there is no reason to look beyond or unwind the transfer making Count III moot and subject to

 dismissal. Accordingly, the Bureau’s derivative second and third counts fail and should be

 dismissed.

 IV.        The Complaint Should be Dismissed With Prejudice.

            The Complaint should be dismissed with prejudice because the Bureau already amended

                                                 23
  Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 27 of 76 PageID #:166




its complaint once and any future amendments would be futile. Rule 15 allows a party to amend

its pleading as a matter of right under certain circumstances and “freely . . . when justice so

requires.” F.R. Civ. P. 15(a)(1)-(2).

       Courts may deny a motion for leave to amend for numerous reasons, including delay,

futility, and undue prejudice to the opposing party. Park v. City of Chicago, 297 F.3d 606, 612

(7th Cir.2002) (citations and quotations omitted). As the Seventh Circuit recognized, courts

“generally dismiss the plaintiff’s complaint without prejudice and give the plaintiff at least one

opportunity to amend her complaint.” Foster v. DeLuca, 545 F.3d 582, 584 (7th Cir. 2008).

However, “[A] motion [to amend] is always made to the sound discretion of the district court

and the court may deny a leave to amend where the proposed amendment fails to allege facts

which would support a valid theory of liability, ..., or where the party to amend has not shown

that the proposed amendment has substantial merit....” Goulding v. Feinglass, 811 F.2d 1099,

1103–04 (7th Cir. 1987).

       Recognizing this authority, Townstone consented to the Bureau filing the amended

Complaint that is now subject to this motion. A comparison of the two complaints shows that

other than some slight reorganizing and rephrasing, and adding Count III against Mr. Sturner,

the substance of the allegations is only minimally changed. This makes sense, of course,

because the Bureau is complaining about events that occurred three to seven years ago.

Townstone has been dealing with this investigation, including providing significant documents

and sitting for multiple investigational hearings, since 2017. Townstone was forced to pass on

potentially fruitful transactions as a result of the Bureau’s investigation and spent hundreds of

thousands of dollars in legal fees.

       Townstone and Sturner ask this Court to say enough is enough and put an end to this


                                               24
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 28 of 76 PageID #:167




 saga. E.g., Verhein v. S. Bend Lathe, Inc., 598 F.2d 1061, 1063 (7th Cir. 1979) (ruling that the

 district court properly denied a plaintiff’s motion to amend its complaint since the motion for

 leave to amend failed to allege facts supporting a valid theory of the defendant’s liability and

 thus failed to cure the defect in the original complaint.) If the Court agrees with Townstone and

 Sturner that the Complaint should be dismissed for some or all of the reasons stated herein,

 Townstone and Sturner respectfully ask that that dismissal be made with prejudice. 9



 V.      Conclusion

        For the foregoing reasons, Townstone asks the Court to dismiss the Complaint with

prejudice.

                                                             Respectfully submitted,

                                                             /s/ Sean P. Burke
                                                             Sean P. Burke #6277203
                                                             E. Brenda Kpotufe #34084-49
                                                             Mattingly Burke Cohen & Biederman LLP
                                                             155 E. Market St., Suite 400
                                                             Indianapolis, IN 46204
                                                             Sean.Burke@mbcblaw.com
                                                             Brenda.Kpotufe@mbcblaw.com

                                                             Marx Sterbcow
                                                             Sterbcow Law Group
                                                             824 Elmwood Park Blvd #205
                                                             New Orleans, LA 70123
                                                             marx@sterbcowlaw.com


                                                             Attorneys for Defendant Townstone
                                                             Financial, Inc. and Barry Sturner

9
  Townstone and Sturner ask this Court to award them their legal and expert fees they incurred under the Equal
Access to Justice Act, (“EAJA”), 28 U.S.C.§ 2412, which makes the federal government liable for fees where the
demand by the agency is found substantially in excess of the decision and is unreasonable when compared with the
decision. To the extent the Court would entertain this request Townstone and Sturner would be willing to submit
evidence of these expenditures.

                                                       25
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 29 of 76 PageID #:168




                               CERTIFICATE OF SERVICE
        I hereby certify that on February 8, 2021, a copy of the foregoing was filed
electronically. Service of this filing was also made by operation of the Court’s CM/ECF system:

        Barry Reiferson
        Vincent Herman
        Michael G. Salemi
        Mary E. Olson
        Bureau of Consumer Financial Protection
        230 S. Dearborn St., Suite 1590
        Chicago, IL 60604

        And

        1700 G Street, NW
        Washington, DC 20552



                                                   /s/ Sean P. Burke______________
                                                   Sean P. Burke




                                              26
  Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 30 of 76 PageID #:169




                           Unsafe at Any Bureaucracy, Part III:
       The CFPB’s Vitiated Legal Case Against Auto-Lenders


                    REPORT PREPARED BY THE REPUBLICAN STAFF OF THE
             COMMITTEE ON FINANCIAL SERVICES, U.S. HOUSE OF REPRESENTATIVES


                                          HON. JEB HENSARLING, CHAIRMAN


                                            115TH CONGRESS, FIRST SESSION
                                                   JANUARY 18, 2017

This report has not been officially adopted by the Committee on Financial Services and may not necessarily reflect the views of its Members.
    Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 31 of 76 PageID #:170




                                 TABLE OF CONTENTS


Executive Summary


Background


Disparate Impact
•   Under Current Case Law, The CFPB Cannot Make A Prima Facie Case Of Disparate
    Impact Against Auto-Financers
          The Text of the Equal Credit Opportunity Act Does Not Give Rise to Disparate
           Impact Liability
          New Case Law Shows That The CFPB Could Not Make a Prima Facie Case Against
           Indirect Auto Financers Under Inclusive Communities
           o Discretion is not a “policy” and therefore cannot be used to make out a prima
              facie case of disparate impact liability
           o The CFPB could not meet the robust causality standard of Inclusive
              Communities
•   The CFPB’s Test For Harm In Indirect Auto Lending Makes The Same Errors The Court
    Rejected In Inclusive Communities


Rulemaking
•   The CFPB Likely Violated The Administrative Procedure Act, Against Its Attorneys’
    Advice, When Issuing Its Recent Rule Governing Auto Financers
   Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 32 of 76 PageID #:171




                                  Executive Summary


       This is the third installment in a series of staff reports examining the Bureau of
Consumer Financial Protection’s (CFPB’s) Equal Credit Opportunity Act (ECOA)
enforcement actions against indirect auto financers. Part I showed, using internal CFPB
documents, that the CFPB’s ECOA actions against auto financers were knowingly premised
on a suspect legal theory and a fundamentally flawed statistical methodology for estimating
the race of borrowers. Part II showed, again using internal CFPB documents, that the
CFPB’s theory of liability for auto financers cannot meet the legal test for disparate impact.


       Part III in this continuing series makes additional CFPB documents available to the
public. These documents discuss the CFPB’s disparate-impact methodology in more detail.
They also reveal potential legal deficiencies in the issuance of the CFPB’s major rule
authorizing it to supervise the larger participants of the auto lending market.


       Part III also demonstrates that under recent Supreme Court precedent, if the CFPB
were to rely upon the legal theory it deployed in previous enforcement actions against auto
financers, its claims would not survive judicial scrutiny.




                                               1
    Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 33 of 76 PageID #:172




                                               Background


        The original Staff Report entitled Unsafe at Any Bureaucracy I analyzed the
questionable legal basis of the CFPB’s disparate-impact enforcement of ECOA against
indirect auto financers. Since the release of that report, judicial decisions, including by the
U.S. Supreme Court, have further demonstrated the legal insufficiency of the CFPB’s
position. It is now apparent that the CFPB’s auto-lending enforcement actions have been
grounded in a fundamental misapplication of the law.


        As set forth in detail in previous Committee Staff Reports, most auto dealers offer
vehicle financing as a convenience to customers, some through indirect auto financers,
sometimes called “indirect auto lenders,” 1 which are assignee creditors that may be banks,
captive finance companies, 2 independent finance companies, or credit unions. Prospective
car buyers can finance their car through the dealer if they wish. After negotiating the terms
of the financing, they execute a contract known as a “Retail Installment Sale Contract”
(RISC) that memorializes these terms.


        Either before or after entering into a RISC with a car buyer, dealers solicit
competitive bids from indirect auto financers to purchase the RISC. 3 Dealers are able to
obtain a “wholesale” interest rate for the purchase of a RISC from indirect creditors
because of the large volume of credit applications they originate and the origination costs
they save for the creditors. Dealers try to maintain a retail margin to cover the costs of
their origination operation and provide a return. The difference between the retail rate
accepted by the buyer and the wholesale rate quoted by creditors to the dealer is known as
“dealer participation” or “dealer reserve,” and constitutes the dealer’s retail margin.



1
  CFPB documents describe these finance companies as “indirect auto lenders,” although they are more
appropriately described as creditors rather than lenders pursuant to state laws.
2
  Captive finance companies are subsidiaries whose purpose is to provide financing to customers buying the parent
company's product.
3
  Purchasing the RISC means extending financing in exchange for the future income stream of finance payments
made by the car buyer. The assignee becomes the owner of the RISC.



                                                        2
    Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 34 of 76 PageID #:173




        The CFPB brought a series of disparate-impact actions against auto finance
companies, none of which have yet been challenged in a federal court, and several of which
ended in negotiated agreements or public settlements. Disparate impact is a controversial
legal theory of liability. Unlike a disparate treatment case, where a “plaintiff must establish
that the defendant had a discriminatory intent or motive, a plaintiff bringing a disparate
impact claim challenges practices that have a disproportionately adverse effect on
minorities and are not otherwise justified by a legitimate rationale.” 4 In other words,
disparate impact theory states that a law or regulation may prohibit a practice that is
discriminatory in effect because it has a disproportionately negative impact on a protected
class, even if the defendant has no intent to discriminate and the practice appears neutral
on its face. The CFPB has collected some $200 million in penalties that the public knows of
from companies in disparate impact enforcement actions related to ECOA, without ever
having to set foot in federal court. 5


        The CFPB has claimed that various indirect auto financers are legally liable for
disparities in the dealer-participation on RISCs for minority borrowers relative to non-
Hispanic white borrowers, despite the fact that auto-dealers (not financers) set their own
dealer participation for each RISC they retail. 6 As examined in detail in the Staff Report
entitled Unsafe at Any Bureaucracy I, the CFPB refused to consider these auto financers’
showings that the purported disparities were in fact correlated to and caused by relevant

4
  Texas Dep’t of Hous. and Comty. Affairs v. Inclusive Communities Project, Inc., 135 S.Ct. 2507, 2513 (2015)
(quoting Ricci v. DeStefano, 557 U.S. 557, 577 (2009) (internal quotation marks omitted) (hereinafter “Inclusive
Communities, Supreme Court”); see also Unsafe at Any Bureaucracy, at 8.
5
  See Consent Order, In the Matter of Toyota Motor Credit Corporation, No. 2016-CFPB-0002 (CFPB Feb. 2, 2016)
available at http://files.consumerfinance.gov/f/201602 cfpb consent-order-toyota-motor-credit-corporation.pdf
($21.9 million); In the Matter of Fifth-Third, No. 2015-CFPB-0024 (CFPB Sept. 28, 2015), available at
http://files.consumerfinance.gov/f/201509 cfpb consent-order-fifth-third-bank.pdf ($18 million); Consent Order, In
the Matter of American Honda Finance Corp., No. 2015-CFPB-0014 (CFPB Jul. 14, 2015), available at
http://files.consumerfinance.gov/f/201507 cfpb consent-order honda.pdf ($24 million); Consent Order, In the
Matter of Ally Financial Inc., No. 2013-CFPB-0010 (CFPB 19 Dec., 2013), available at
http://files.consumerfinance.gov/f/201312 cfpb consent-order ally.pdf ($80 million); CFPB, Supervisory
Highlights, 4 (Summer 2014), http://files.consumerfinance.gov/f/201409_cfpb_supervisory-highlights_auto-
lending_summer-2014.pdf (“[T]ogether with the DOJ, the Bureau took public enforcement action against Ally
Financial Inc. and Ally Bank (collectively, Ally) in December 2013, requiring Ally to pay $80 million to address
harm to about 235,000 borrowers. Supervisory resolutions with several other auto lenders will account for the
remaining approximately $56 million. . . . ”).
6
  Dealer participation is capped at a maximum of 175-250 basis points industry-wide.



                                                        3
    Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 35 of 76 PageID #:174




characteristics of the RISCs’ terms and circumstances and relevant borrower credit
characteristics, not the race of the borrower.


        Now, case law applying recent Supreme Court precedent has demonstrated again
how weak the CFPB’s legal case is. In Texas Department of Housing and Community Affairs
v. Inclusive Communities Project, Inc., 7 a case involving disparate impact claims under the
Fair Housing Act, the Supreme Court set forth rigorous legal tests for disparate-impact
liability, including an exacting burden of proof to establish a prima facie case of disparate
impact. 8 Application of those standards to the enforcement actions brought by the CFPB
against auto financing companies would result in almost certain dismissal of those claims.




                                           Disparate Impact


      Under Current Case Law, The CFPB Cannot Make A Prima Facie Case Of
                           Disparate Impact Against Auto Financers


The Text of the Equal Credit Opportunity Act Does Not Give Rise to Disparate Impact
Liability
        The CFPB employs a “disparate impact” theory of discrimination when enforcing
ECOA despite the lack of a valid legal or statutory basis for doing so. 9 One searches the text
of ECOA in vain for any language giving rise to a disparate impact theory of liability. The
Staff Report entitled Unsafe at Any Bureaucracy I highlighted the absence of any case law
supporting the CFPB’s attempt to import disparate impact theory into ECOA, and showed
that the operative language in other statutes that courts have construed to imply disparate-


7
  This case considered whether the Fair Housing Act gave rise to disparate-impact liability.
8
  See Inclusive Communities, Supreme Court.
9
  See Consumer Financial Protection Bureau, Bureau Bulletin 2012-04 (Fair Lending) (Apr. 18, 2012), available at
http://files.consumerfinance.gov/f/201404 cfpb bulletin lending discrimination.pdf (“[T]he CFPB reaffirms that
the legal doctrine of disparate impact remains applicable as the Bureau exercises its supervision and enforcement
authority to enforce compliance with the ECOA and Regulation B.”).



                                                        4
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 36 of 76 PageID #:175




impact liability is nowhere to be found in ECOA. Yet that has not stopped the CFPB from
charging ahead with multiple cases against auto financers under a baseless legal theory.


        In the absence of a Supreme Court case on ECOA, the CFPB has analogized to cases
interpreting laws with different statutory text and context from ECOA, most notably, the
Fair Housing Act (FHA). At a March 2016 hearing before the House Financial Services
Committee, Representative Randy Hultgren explained that the Inclusive Communities
holding that disparate impact was cognizable under the FHA “rested primarily on the
unique congressional history of FHA — history that is plainly inapplicable to ECOA.” CFPB
Director Richard Cordray responded by claiming that the FHA and ECOA “have been
applied hand in glove for decades.” 10 A review of the relevant legal landscape contradicts
Director Cordray on this point.


        In Griggs v. Duke Power and Smith v. City of Jackson, the Supreme Court inferred
disparate impact liability from the text of the Civil Rights Act and the Age Discrimination in
Employment Act, respectively, with the Griggs Court holding that Congress had “directed
the thrust of the Act to the consequences of employment practices, not simply the
motivation.” 11 The Court applied the rule Griggs and Smith established to reach the same
conclusion about the FHA in the Inclusive Communities case, after examining the language
of the FHA and holding that its “results-oriented language counsels in favor of recognizing
disparate-impact liability.” 12


        By contrast, ECOA contains no such consequences-based language, but focuses
solely on the intent of the actor. A textual comparison of ECOA and the Fair Housing Act
illustrates this critical distinction. 13 The FHA expressly prohibits an actor from acting in
any way that results in any person being denied housing on the basis of race: “It shall be

10
   The Semi-Annual Report of the Bureau of Consumer Financial Protection: Hearing Before the H. Comm. On Fin.
Servs., 114th Cong. (2016) (statements of Rep. Hultgren and Director Cordray).
11
   Griggs v. Duke Power Co., 401 U.S. 424, 432 (1971) (emphasis added); see Smith v. City of Jackson, 544 U.S.
228 (2005). For further analysis, see Unsafe at Any Bureaucracy.
12
   Inclusive Communities, Supreme Court, at 2518.
13
   See Unsafe at any Bureaucracy, at 14.



                                                      5
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 37 of 76 PageID #:176




unlawful . . . [t]o refuse to sell or rent after the making of a bona fide offer, or to refuse to
negotiate for the sale or rental of, or otherwise make unavailable or deny, a dwelling to any
person because of race, color, religion, sex, familial status, or national origin.” 14 This is the
results-oriented statutory language the Court relied on in Inclusive Communities to hold
that disparate impact claims were cognizable under the FHA. ECOA’s text, on the other
hand, contains no such results-oriented provision. Instead, it prohibits an actor from
discriminating on the basis of race: “It shall be unlawful for any creditor to discriminate
against any applicant, with respect to any aspect of a credit transaction . . . on the basis of
race, color, religion, national origin, sex or marital status, or age. . . .” 15 Due to the absence
of results-oriented statutory language, under Inclusive Communities, disparate impact is not
cognizable under ECOA.


        The FHA’s legislative history provides additional grounds for differentiating it from
ECOA on the issue of disparate impact. In the case of the FHA, prior to the Supreme Court’s
holding in Inclusive Communities, the lower courts issued a series of opinions holding that
the FHA authorized disparate-impact liability. 16 Subsequently, Congress amended the FHA
to exempt certain activities that could only have violated the law if the FHA authorized
disparate-impact. 17 The Court in Inclusive Communities interpreted Congress’ amendment
as a ratification of those prior holdings finding disparate impact liability. 18 However,
Congress has made no such amendments to ECOA.


New Case Law Shows the CFPB Could Not Make a Prima Facie Case Against Indirect
Auto Financers Under Inclusive Communities
        Even if ECOA authorized disparate impact enforcement actions, which it does not,
the CFPB still could not make a legally valid case for its enforcement actions against auto
financers. As outlined in greater detail below, in Inclusive Communities, the Supreme Court
set an exacting burden of proof to establish a prima facie case of disparate impact. On
14
   42 U.S.C. § 3604(a).
15
   15 U.S.C. § 1691(a).
16
   Id. at 2520-21.
17
   Id. at 2520-21.
18
   Id. at 2520-21.



                                                6
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 38 of 76 PageID #:177




remand, the district court applied that standard and ruled that discretion does not
constitute a policy pursuant to a disparate-impact theory. The CFPB’s entire theory of
liability against indirect auto financers is premised on the claim that individual auto
dealers’ ability to set discretionary dealer participation constitutes a policy on the part of
the auto financer — a theory that Inclusive Communities conclusively refutes.


         The facts underlying Inclusive Communities pertain to a housing authority in Dallas
that granted tax credits to builders of low-income housing on a discretionary basis. The
federal government provided tax credits to the states to distribute to developers, which
Texas did in this case through the defendant housing authority. 19 Developers could then
apply for the tax credits which could be “sold to finance construction of a housing project,”
which the housing authority granted on a discretionary basis. 20 Any developers who
received these housing tax credits were required by law to accept recipients of Section 8
housing vouchers. 21 The plaintiff in the case alleged that the housing authority’s allocation
of tax credits in Dallas had “a disparate impact on the location of low-income housing in the
area.” 22 Specifically, the plaintiffs alleged that the housing authority’s “use of discretion in
the aggregate resulted in an approval rate for units located in Caucasian areas of nearly half
the approval rate for units located in minority areas,” and that the housing authority’s
“decisions to deny or approve applications for specific applications for . . . tax credits” was
“evidence of disparate impact.” 23


         The Supreme Court opinion in Inclusive Communities focused primarily on the
parameters of a disparate impact claim. First, the Court noted the three-step burden-
shifting test that the Department of Housing and Urban Development had adopted by
regulation and the Fifth Circuit Court of Appeals applied below, as follows: (1) the plaintiff
must “make a prima facie showing of disparate impact,” which requires meeting the
“burden of proving that a challenged practice caused or predictably will cause a
19
   Id. at 11-12.
20
   Id. at 11-12.
21
   Id. at 11-12.
22
   Id. at 11-12.
23
   Id. at 11-12.



                                               7
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 39 of 76 PageID #:178




discriminatory effect”; 24 (2) if the plaintiff makes out a prima facie case, “the burden shifts
to the defendant to prov[e] that the challenged practice is necessary to achieve one or more
substantial, legitimate, nondiscriminatory interests”; 25 (3) if the defendant proves the
practice served a legitimate interest the burden shifts back to the plaintiff to “prov[e] that
the substantial, legitimate, nondiscriminatory interests supporting the challenged practice
could be served by another practice that has a less discriminatory effect.” 26


         Turning to the heart of the case, the Court found that disparate-impact liability “has
always been properly limited in key respects.” 27 A key limitation on disparate-impact
liability is that plaintiffs must establish a defendant’s “policy or policies caus[ed] this
disparity.” 28 This requires a twofold showing: both that the defendant had a policy in place,
and that the policy caused the disparity at issue. The holding stressed the “robust causality
requirement” needed to show that a policy of the defendants caused the disparity. 29 The
Court emphasized two purposes of such a robust requirement. The first is to avoid
incentivizing the use of racial quotas and causing entities to create policies that “in fact,
tend to perpetuate race-based considerations rather than move beyond them.” 30 The
second is to “protect[] defendants from being held liable for racial disparities they did not
create,” and “protect potential defendants against abusive disparate impact claims.” 31


         In addition to establishing plaintiffs’ prima facie burdens, the opinion held that
courts must give both government and private defendants “leeway to state and explain the
valid interest served by their policies . . . analogous to the business necessity standard



24
   Id. at 4-5; see also Inclusive Communities Project, Inc., v. Texas Dep’t of Hous. and Comty. Affairs, Nos. 12–
11211, 13–10306., slip op. (5th Cir., Mar. 24, 2014) (hereinafter “Inclusive Communities, 5th Circuit”).
25
   Inclusive Communities, Supreme Court at 2514-15; see also Inclusive Communities, 5th Circuit.
26
   Inclusive Communities, Supreme Court at 2514-15 (internal quotation marks and citations omitted); see also
Inclusive Communities, 5th Circuit.
27
   Inclusive Communities, Supreme Court, at 2522.
28
   Id. at 2523.
29
   Id. at 2523. The Court highlighted in particular that “a disparate-impact claim that relies on a statistical disparity
must fail if the plaintiff cannot point to a defendant’s policy or policies causing that disparity.” Id.
30
   Id. at 2524.
31
   Id. at 2523-24.



                                                            8
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 40 of 76 PageID #:179




under Title VII.” 32 This leeway is because defendants must “be allowed to maintain a policy
if they can prove it is necessary to achieve a valid interest.” 33


        The Supreme Court decided Inclusive Communities in 2015 and remanded the case
to the appellate court, which in turn remanded it to the district court for disposition
consistent with the Supreme Court’s holding. In August 2016, the District Court for the
Northern District of Texas stated that its prior conclusion that the plaintiff had made a
prima facie case was “reached without the benefit of the Supreme Court’s decision in this
case,” and changed its decision in light of the Supreme Court’s holding. 34 It found that the
plaintiff could not state a prima facie case of disparate impact under the Supreme Court’s
opinion.


Discretion is not a “policy” and therefore cannot be used to make out a prima facie case of
disparate impact liability
        The District Court held that the plaintiff had failed to meet the burden of proof the
Supreme Court requires to show disparate impact because discretion is not a cognizable
policy under disparate-impact analysis. The District Court held that as a matter of law a
generalized policy of discretion is not a specific policy or practice that can be said to cause
the alleged disparity, but rather a series of “cumulative effects.” 35 Indeed, it held that if “the
plaintiff establishes a subjective policy, such as the use of discretion, has been used to
achieve racial disparity, the plaintiff has shown disparate treatment,” not disparate
impact. 36 Disparate impact, by contrast, requires the plaintiff to “establish[] that the
existence of the policy itself, rather than how the policy is applied, resulted in a racial
disparity.” 37 The court went on to find that because the plaintiff was merely complaining




32
   Id. at 2522.
33
   Id. at 2523.
34
   Inclusive Communities Project, Inc., v. Texas Dep’t of Hous. and Comty. Affairs, No. 3:08-CV-0546, slip op. at 3,
32 (N.D. TX, Aug. 26, 2016) (hereinafter “Inclusive Communities, District Court”).
35
   Id. at 15.
36
   Id. at 18.
37
   Id. at 17.



                                                         9
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 41 of 76 PageID #:180




about the “results of [the defendant]’s discretion, not the exercise of discretion,” it had
failed to demonstrate a prima facie case of discrimination. 38


         Because the CFPB’s case against indirect auto financers is premised on the claim
that discretion is a policy, 39 it would also fail under an application of the Supreme Court’s
rigorous Inclusive Communities standard. The CFPB has pointed to auto financers’ “policy”
of discretion whereby the dealers, not the financers, have the discretion to determine
whether and how much dealer participation to charge. 40 However, because discretion is
not a specific policy, it cannot give rise to disparate impact liability.


         The CFPB would likely point to an ancillary point made by the District Court opinion
in an attempt to salvage its argument. The court noted that the plaintiff was properly
understood as bringing a disparate treatment claim rather than a disparate impact claim,
because the relief the plaintiff sought was not an order eliminating the housing authority’s
ability to exercise discretion but rather an order forcing the housing authority to exercise
that discretion to reduce racial segregation in low-income housing. 41 The CFPB would
likely argue that because it seeks to cap the level of discretion that car dealers may
exercise, not force auto dealers to exercise their discretion in a particular way, discretion
constitutes a “policy” in its cases against the auto financers.


         There are several flaws in this line of reasoning. First, the court merely pointed to
the relief sought as an illustration of the point it had already arrived at through the
application of precedent and logic. Namely, that discretion is not in itself a policy capable


38
   Id. at 18.
39
   See e.g. November 19, 2014, Decision Memorandum, 'Authorization to Seek a Settlement or Commence
Litigation', at 11, (“As described above, Honda, Toyota, and Nissan each maintain a specific policy and practice that
provides dealers discretion to mark up borrowers' interest rates above each institution's established buy rates, and
compensates dealers for those markups.”).
40
   See e.g., Consent Order, In the Matter of Toyota Motor Credit Corporation, No. 2016-CFPB-0002, ¶11 (CFPB
Feb. 2, 2016) available at http://files.consumerfinance.gov/f/201602 cfpb consent-order-toyota-motor-credit-
corporation.pdf (“With respect to non-subvented retail installment contracts, Respondent maintains a specific policy
and practice that provides dealers discretion to mark up a consumer's interest rate above Respondent's established
risk-based buy rate.”).
41
   Inclusive Communities, District Court, at 18.



                                                         10
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 42 of 76 PageID #:181




of creating a disparate impact, but rather an absence of a policy, and instead the ad hoc
discretionary decisions either are motivated by an intention to treat minorities differently
(and therefore illegal because they are disparate treatment, not disparate impact), or are
not (and therefore are not illegal).                 Second, the fact that the plaintiff in Inclusive
Communities sought to address its complaints about the “results of [the defendant]’s
discretion” by seeking to make the defendant exercise that discretion to secure different
results does not change the baseline conclusion that the results of discretion simply cannot
be defined as the results of a policy. Third, none of the consent orders resolving the CFPB’s
actions against auto financers had the effect of eliminating the discretion of a dealer to
charge a dealer participation, but rather imposed lower ceilings on how much reserve
dealers can charge. Fourth, if anything, the fact pattern in indirect auto lending is still
further removed from a “specific policy.” In Inclusive Communities the discretion was
actually exercised by the defendant in the case. By contrast, indirect auto financers are not
the parties that exercise the discretion to set dealer participation; that discretion is
exercised by auto dealers. Thus financers’ relationship to the results of discretion is even
more attenuated than that of the housing authority in Inclusive Communities.


         Further support for the holding that discretion is not a policy comes from another
case decided by a federal district court in the aftermath of the Inclusive Communities
Supreme Court case. In City of Los Angeles v. Wells Fargo & Co, plaintiffs alleged that Wells
Fargo had violated the Fair Housing Act’s disparate impact prohibition by issuing
mortgages that imposed different terms or costs on minority borrowers. 42 In that case the
plaintiff did not claim that the defendant had a policy of discretion per se, but it claimed
that the defendant’s “inadequate monitoring policies resulted in the disparate issuance of
[h]igh-[c]ost loans to minority borrowers.” 43 The court summarized this position as an
argument that “a lack of a policy produced the disparate impact.” 44 In other words:
discretion. The court ruled that the plaintiff failed to make a valid disparate impact claim


42
   City of Los Angeles v. Wells Fargo & Co., No. 13-09007, at 2 (C.D. Calif. Jul. 17, 2015).
43
   Id. at 16.
44
   Id. at 16 (emphasis in original).



                                                         11
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 43 of 76 PageID #:182




because the plaintiff could not meet Inclusive Communities’ requirement to identify an
“actual policy” of the defendants as part of the causation showing. 45


The CFPB could not meet the robust causality standard of Inclusive Communities
         The District Court in the Inclusive Communities remand case next turned to the
question of causation. The District Court found that even if, arguendo, discretion were a
policy, the plaintiff would still have no actionable claim against the housing authority
because it had “not proved that it was [the defendant]’s exercise of discretion — and not
something else — that caused” the disparity. 46 So even if disparate-impact actions were
cognizable under ECOA, and even if discretion were a policy for the purposes of making out
a prima facie case, the CFPB still could not prove that dealer discretion to set dealer
participation caused the alleged disparity because it cannot prove that the exercise of
discretion caused the disparities it observed.


         In the Inclusive Communities opinion, the Supreme Court articulated a “robust
causality requirement” designed to “ensure[] that [r]acial imbalance . . . does not, without
more, establish a prima facie case of disparate impact and thus protect[] defendants from
being held liable for racial disparities they did not create.” 47 The Court incorporated this
protection because if it did not, “disparate-impact liability might displace valid
governmental and private priorities,” which would in turn “set our Nation back in its quest
to reduce the salience of race in our social and economic system,” whereas disparate-
impact liability must properly be applied to “remov[e] . . . artificial, arbitrary, and
unnecessary barriers.” 48 The Court further held that if the plaintiff could not meet its
burden to show a causal connection between a defendant’s policy and a disparate impact, it
“should result in dismissal of this case.” 49

45
   Id. at 16.
46
   Inclusive Communities, District Court, at 19. The court also held that providing the requested relief of forcing the
plaintiff to “monitor relevant data” and “correct the disproportionate issuance” of high-cost loans to minorities “is a
roundabout way of arguing for a racial quota,” which is explicitly prohibited by the Inclusive Communities decision
due to the Constitutional issues it would raise. Id. at 16-17.
47
   Inclusive Communities, Supreme Court, at 2523 (internal quotation marks and citation omitted).
48
   Id. at 2524 (internal quotation marks and citation omitted).
49
   Id. at 2524; see also Inclusive Communities, District Court, at 20-21.



                                                          12
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 44 of 76 PageID #:183




         Applying the Supreme Court’s “robust” causation standard, the District Court found
that the plaintiff failed to make a prima facie case of disparate impact. 50 It first noted that
there is no evidence the statistical disparity would have been eliminated had the housing
authority been forced to use a particular points-system for awarding tax credits rather than
exercising discretion. 51 The court then found that that the plaintiff did not show causation
because it failed to account for “other potential causes of the statistical disparity.” 52 The
Supreme Court had recognized that in this case it “may be difficult to establish causation
because of the multiple factors that go into investment decisions about where to construct
or renovate housing units.” 53 The District Court pointed out that there were multiple
potential causes of the disparity alleged in the case, such as developers’ considerations,
local governments’ preferences, and federal laws mandating preferences for low-income
communities in awarding tax credits. 54 Therefore the plaintiff failed to meet its burden to
prove that the housing authority’s “exercise of discretion — and not other factors — caused
the statistical disparity.” 55 Because the plaintiff failed to meet its burden to show that it
was the housing authority’s exercise of discretion that caused the disparity, it could not
have made out a disparate impact case even if discretion were a policy as a matter of law.


         Nor could the CFPB make a sufficient showing of causation if its auto-lending
enforcement strategy were ever exposed to scrutiny by a federal court. As the previous
Staff Reports have demonstrated, the CFPB was informed time and again of factors other
than race that completely or almost completely accounted for the disparities in dealer
participation the CFPB alleged it found in various indirect auto financers’ portfolios. 56
These factors included the credit score, the new or used status of the vehicle, the term of



50
   Inclusive Communities, District Court, at 6, 10, 19, 25, 30.
51
   Id. at 19.
52
   Id. at 20.
53
   Inclusive Communities, Supreme Court, at 2523-24; see also Inclusive Communities, District Court, at 20-21.
54
   Inclusive Communities, District Court, at 19-23.
55
   Id. at 21. The plaintiff attempted to prove that some of the potential factors were not causes of the disparity but its
analysis suffered from methodological problems, such as comparing the cumulative results of annual tax credit
awards over many years rather than comparing tax credit awards within each year against one another as the housing
authority did when reaching its decisions. Id. at 22.
56
   Unsafe at any Bureaucracy, at 38-39.



                                                           13
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 45 of 76 PageID #:184




repayment, the dealer, and the geographical area. 57 The Supreme Court viewed a robust
prima facie causality showing as a necessary step in safeguarding valid business and other
priorities. Each of the above factors represents a potential valid business priority. For
example, a borrower with a lower credit score may be less appealing to financers, and the
dealer may have to expend significantly more time and effort to find him or her financing.
Under the robust standard of causation set forth in Inclusive Communities, the CFPB must
consider each of these factors and any other relevant factors and prove that each one did
not cause the disparity in order to meet its burden to show that a policy of the financers did
cause the disparity. However, based on its internal documents, it appears the CFPB does
not even consider these factors when making a showing of correlation, much less
causation.


           In order to make a valid comparison between the dealer participation charged to
consumers of different races one should compare consumers only with other similarly-
situated consumers. For example, RISCs of borrowers seeking a 5-year car repayment term
should be compared only against RISCs of other borrowers seeking the same repayment
term, not the RISCs of consumers with a 7-year repayment term, in order to tell if there is
really a difference in dealer participation between people of different races or only
between people who select different terms. But, as extensive internal CFPB documentation
has revealed, 58 when determining whether differences in dealer participation are
correlated to race the CFPB does not regress out other variables to assess whether the
differences in dealer participation are truly correlated to race or whether they are in fact
correlated to some other relevant borrower characteristic (like geographical area, credit
score, or term).


           Court documents demonstrate one theory the CFPB likely relied on to try to justify
its decision to ignore these variables. The Department of Justice (DOJ) filed a complaint



57
     Id. at 38-39.
58
     See generally Unsafe at any Bureaucracy; Unsafe at any Bureaucracy II.



                                                         14
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 46 of 76 PageID #:185




(later settled) against Toyota on the basis of the CFPB’s decision to “refer[] Toyota to the
United States Department of Justice pursuant to ECOA.” 59 The complaint alleged:


           The United States's and the CFPB's markup analyses focused on the interest
           rate difference between each borrower's contract rate and each borrower's
           buy rate set by Toyota.                   Toyota considers individual borrowers'
           creditworthiness and other objective criteria related to borrower risk in
           setting the buy rate . . . . The dealer markups charged by Toyota to consumers
           are based on dealer discretion and are separate from, and not controlled by,
           the adjustments for creditworthiness and other objective criteria related to
           borrower risk that are already reflected in the buy rate. Toyota's markup
           policy provided for dealer discretion and did not include consideration of
           these factors. Because the analysis focused on only the difference between
           each borrower's contract rate and buy rate, it did not make additional
           adjustments for creditworthiness or other objective criteria related to
           borrower risk. 60


In other words, the DOJ and CFPB’s analysis treated factors such as credit score, geography,
new/used status, term of the loan, etc. as if they were irrelevant to setting dealer
participation.        The apparent rationale is that the agencies believed the factors were
relevant only to risk-based pricing of the buy rate and were therefore already “baked in” to
the buy rate, rendering it unnecessary or even double-counting to consider them in
analyzing dealer participation.


           The CFPB’s internal documentation shows that this theory was applied internally as
well. In one memorandum to Director Cordray, CFPB staff justified its decision not to
control for relevant potentially explanatory variables by claiming:



59
     Complaint, U.S. v. Toyota Motor Credit Corp., No. cv-16-725, ¶16 (Feb. 2, 2016, C.D. Cal.).
60
     Id. at ¶20.



                                                          15
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 47 of 76 PageID #:186




        Given the fact that Honda, Toyota, and [Institution C]'s buy rate on any given
        transaction already accounted for characteristics associated with the
        borrower's creditworthiness, the characteristics of the vehicle, and the
        timing, location, and structure of the deal, such factors were not included as
        controls in the analysis, which focused on dealer markups. 61


        This reasoning closely tracks an approach promoted by Professor Ian Ayres,
suggesting that the CFPB may be relying on or incorporating his theory in its own position.
This theory is known as “included variable bias” theory, which is the opposite of the
standard and accepted statistical “omitted variable bias” analysis.                         Ayres has written
several articles on the subject, and served as an expert witness for the plaintiffs in a 2004
class-action lawsuit against Honda’s financing arm, a case that was ultimately settled (prior
to a ruling on class certification) on terms including an agreement to cap dealer
participation at 250 basis points (2.5 percentage points). 62 For that case, Ayres wrote a
report supporting class certification, arguing that “[i]ncluding controls for non-race factors
that do not represent legitimate business justifications can bias the estimate of whether a
decisionmaker's policies produced an unjustified disparate impact.” 63 Whereas “omitted
variable bias” refers to the idea that failing to control for factors other than the one being
tested for — here, race or ethnicity — creates a statistical bias, “included variable bias”
theory holds that “[i]t is inappropriate to control for these non-race factors in the
regression under a disparate impact theory, because the statistician wants to see whether
these non-race factors produce racially disparate outcomes.” 64                                 However, this
misunderstands the legal analysis required, which is to determine whether the defendant’s
policy produces racially disparate outcomes, not whether other non-race factors produce
racially disparate outcomes.


61
   November 19, 2014, Decision Memorandum, 'Authorization to Seek a Settlement or Commence Litigation', at 13.
62
   See Settlement Agreement at ¶9.1, Jan. 21, 2005, Willis et al. v. American Honda Finance Corp., class action, No.
3-02-0490 (M.D. Tenn.); see also Docket, Willis et al. v. American Honda Finance Corp., class action, No. 3-02-
0490 (M.D. Tenn.).
63
   Expert Report Of Ian Ayres at 7, Jun. 30, 2004, Willis et al. v. American Honda Finance Corp., class action, No.
3-02-0490 (M.D. Tenn.).
64
   Id. at 6.



                                                        16
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 48 of 76 PageID #:187




            Ayres further argued that in that particular case Honda’s “centralized credit scoring
process . . . base[s] credit determinations on arms-length, non-subjective criteria” and that
because Honda “exclusively bears the risk of non-repayment of its principal and . . . it bases
its lending and buy-rate decisions exclusively on information that is embedded in its
available databases, it is disingenuous to argue that dealerships (who are not bearing any
risk of non-repayment of principal) are nonetheless making risk-based decisions.” 65


            Ayres’ argument ignores the fact that these factors do not only predict risk of non-
repayment of principal, but also directly reflect the origination costs dealers face when
working to find financing for their customers.            Dealers have to make a significant
investment to obtain financing for borrowers and that investment varies depending on the
borrower. For example, a dealer must expend significantly more time and effort to find
financing for buyers with poor credit or buyers who wish to enter into RISCs with terms
that are more complicated or companies are less eager to finance, such as longer
repayment periods. The dealer has to factor in the real costs, time-cost, overhead cost,
opportunity cost, etc. to the retail pricing decision. None of this pricing is contingent on the
risk of non-repayment of principal, but rather on the cost of originating or retailing the
RISC. In addition, the dealer must also price in risk in some circumstances. Where the
dealer issues a RISC to a borrower before securing financing and then sells the RISC after
the fact (called a “spot delivery”), the dealer must in fact price in risk of non-repayment of
capital. And, on all RISCs the dealer must price in the risk of losing his compensation if the
borrower defaults within the first 90 days of the loan period.


            Ayres also argued that “[u]nder a disparate impact theory, it is necessary to
intentionally exclude (that is, "omit") non-race variables from a regression to test whether
those variables produced a disparate racial impact.” 66 This argument is convincing to a
point, as it would seem to make little sense to control for variables that bear no reasonable
relation to the cost or price of assigning or originating a RISC, especially if they are

65
     Id. at 26.
66
     Id. at 5.



                                                 17
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 49 of 76 PageID #:188




correlated with race or ethnicity. To use a simplistic example, a person’s eye color has no
reasonable bearing on the ease or difficulty a dealer may have in obtaining financing for
that person or any other cost or credit-risk factors, but it may be correlated with race or
ethnicity, so it would be self-defeating to control for eye color in a disparate impact case
and inappropriate to include it in the prima facie analysis. Similarly, whether the person is
a dog or a cat owner, while having nothing to do with race, is an inapposite control because
it has no plausible connection with the cost (including time-cost, overhead cost, risk
pricing, etc.) of assigning a RISC.


            However, Ayres took this argument past its logical extreme by arguing that in a
disparate impact case regarding dealer reserve, the “qualified pool is simply the class of
Honda Finance borrowers” without regressing out any non-racial characteristics. Under
this approach, a fact-finder should “simply compare the average finance markup charged”
to minority versus non-Hispanic white borrowers. 67            His reasoning was that “Honda
Finance’s own willingness to lend to this class is direct evidence that these borrowers were
deemed by Honda Finance to be qualified borrowers.” 68


            This argument has several flaws. First, it ignores the fact that there is not simply a
binary choice between qualified and unqualified borrowers but a spectrum of financing
rates and terms that various applicants will be qualified for depending on multiple
pertinent factors, which in turn will make each applicant more or less difficult and costly
for the dealer to obtain financing for. This in turn will affect the retail price of the RISC.
Second, the fact that some characteristics are plainly irrelevant does not refute the point
that many factors like those discussed above are relevant and must be controlled for to
reach an accurate picture of whether disparate impact has in fact occurred. Third, this
argument fails to account for the heightened burden the courts have placed on plaintiffs to
make a prima facie case, as in Inclusive Communities. A prima facie case must prove that the



67
     Id. at 9.
68
     Id. at 9.



                                                  18
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 50 of 76 PageID #:189




plaintiff’s policy and not some other factor (such as creditworthiness, geography, etc.)
caused disparate impact.


        Moreover, even Ayres conceded that some variables should be considered in
disparate impact analysis, even if he advocated against using such variables to analyze
dealer participation. He argued that “a variable should be presumptively excluded from the
statistical analysis unless the defendant can demonstrate separate from the regression that
the variable was required and affected performance.” 69 In other words, he appears to
believe that the inclusion of variables should be the defendant’s burden, presumably falling
under the business necessity prong of the three-step burden-shifting analysis. But this is
inconsistent with the standard articulated by the Supreme Court in Inclusive Communities.


        Internal documentation of the CFPB’s process shows that not only did the CFPB fail
to conduct appropriate regression analysis to make out its prima facie case under the first
stage of the burden-shifting test, it also refused to accept the reasonable regression
analysis proposed by auto financers under the second stage of the burden-shifting test. In a
memorandum for the Director, the CFPB nominally considered and summarily dismissed
potentially explanatory non-racial factors only under the first prong of the test (ultimately
deciding not to control for such factors for the reasons discussed above) and did not even
raise these factors under the “Legitimate Business Need” (or, stage two) section of the
memorandum. 70


        Indeed, the CFPB had ample actual and constructive knowledge of such factors and
their explanatory value.          It was presented on multiple occasions with potentially
explanatory factors along with explanations for their relevance. 71 Yet the CFPB refused to

69
   Id. at 7 (internal quotations marks and brackets omitted).
70
   November 19, 2014, Decision Memorandum, 'Authorization to Seek a Settlement or Commence Litigation', at 13,
19.
71
   See e.g. November 19, 2014, Decision Memorandum, 'Authorization to Seek a Settlement or Commence
Litigation', at 13, 19; January 17, 2013, Institution A PARR/NORA Submission, 3 (included in February 14, 2014
CFPB Referral of Institution A Matter to DOJ); April_2013 Draft Memorandum, “Choice of Estimation Methods for
Indirect Auto Lending Markup Disparities,” Draft 1, 1-2; April_2013 Draft Memorandum, “Choice of Estimation
Methods for Indirect Auto Lending Markup Disparities,” Draft 2, 1-2.



                                                     19
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 51 of 76 PageID #:190




control for those factors. 72 And, at least as early as 2007 the DOJ entered into well-
publicized consent orders settling disparate impact cases, 73 which recognized seven
variables as valid “competitive reason[s] that are consistent with ECOA” under a disparate
impact theory and that would cause dealers to set different dealer participation. 74 Yet
nowhere did the CFPB control for those factors either.


         If, as appears to be the case, the CFPB were relying on Ayres’ theory, Inclusive
Communities would eliminate any doubt that such analysis is insufficient to show disparate
impact. As discussed above, both the Supreme Court and the District Court made it clear
that in a disparate-impact suit the CFPB would have a robust initial burden, both to show
that a disparity actually exists (here, by comparing similarly-situated borrowers) and to
show that any disparity is caused by the policy itself and not by various market or other
forces. Moreover, even under the burden-shifting test an auto financer would be easily able
to show that its policy was needed to meet legitimate, non-discriminatory, interests, as
discussed above and in previous Staff Reports. 75 While the CFPB could not meet its
heightened burden to show that the auto financers’ “policy” caused the disparate impact,
the auto financers could show that their policy met several legitimate business interests.


         If the CFPB brought such an action in federal court (setting aside the dispositive fact
that discretion is not a policy) using the models and factors it currently considers in
applying disparate impact, it could not set forth a case that would satisfy the standard
established by Supreme Court precedent.                    Nothing less than considering all relevant
72
   See e.g. id; see also January 17, 2013, Institution A PARR/NORA Submission, 3 (included in February 14, 2014
CFPB Referral of Institution A Matter to DOJ); April_2013 Draft Memorandum, “Choice of Estimation Methods for
Indirect Auto Lending Markup Disparities,” Draft 1, 1-2; April_2013 Draft Memorandum, “Choice of Estimation
Methods for Indirect Auto Lending Markup Disparities,” Draft 2, 1-2.
73
   See Consent Order, United States v. Pacifico Ford, Inc., No. 2:07-cv-03470-PBT (E.D. Pa. Aug. 28, 2007);
Consent Order, United States v. Springfield Ford, No. 2:07-cv-03469-PBT (E.D. Pa. Aug. 28, 2007).
74
   Those seven reasons are: (1) “a lower cap imposed by the lender for the particular transaction;” (2) “a constraint
on the customer’s ability to satisfy monthly payment requirements;” (3) “a statement by the customer that he or she
has access to an equal or more favorable offer from another dealer or lender;” (4) “a special promotional offer
extended to all customers on the same terms;” (5) “the fact that a particular transaction is eligible for . . . [a
manufacturer] Credit or other subvened interest rates;” (6) “the fact that the transaction is eligible for . . . [the
dealer’s] employee incentive program”; or (7) “documented inventory reduction considerations related to specific
vehicles.” Pacifico Ford. at ¶7(b); Springfield Ford at ¶7(b).
75
   See Inclusive Communities, Supreme Court, at 2514-15.



                                                         20
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 52 of 76 PageID #:191




explanatory factors will do, i.e., the traditional “omitted variable bias” analysis advocated
by the targets of the CFPB’s actions. The CFPB could not meet its burden of proving that
the defendant’s “exercise of discretion — and not other factors — caused the statistical
disparity,” 76 and, even if it could, it would have to overcome the auto financers’ showings of
a legitimate business need.


         This sheds light on yet another significant problem with the CFPB’s case that is
related to causation, namely that causation is so attenuated here that it may not be
sufficient to confer standing on the CFPB to sue the auto financer in the first place because
the dealer exercises the discretion over what dealer participation to charge, not the auto
financer. 77 The “irreducible constitutional minimum” required to show standing includes
“a causal connection between the injury and the conduct complained of” whereby the
injury is “fairly . . . trace[able] to the challenged action of the defendant, and not . . . th[e]
result [of] the independent action of some third party not before the court.” 78


         When the District Court in the Inclusive Communities case addressed causation,
although it was not considering standing, it is nonetheless highly telling that the entire
focus of its inquiry was whether the housing authority’s exercise of discretion caused the
disparity. Car dealers exercise the discretion to set dealer participation in the auto-lending
context, not financers.           Even if there were legal grounds for the CFPB to sue, the
appropriate defendants would be the car dealers, not the auto financers. However the
CFPB cannot sue car dealers because the Dodd-Frank Act expressly forbids it from doing
so. 79 To circumvent this statutory prohibition, the CFPB concocted an elaborate and


76
   Inclusive Communities, District Court, at 21.
77
   The dealer has discretion to set his own dealer participation within the parameters of the common industry caps of
175-200 basis points maximum.
78
   See e.g. Lujan v. Defenders of Wildlife, 504 U.S. 555, 561-61 (Jun. 12, 1992) (internal citations and quotation
marks omitted).
79
   Dodd–Frank Wall Street Reform and Consumer Protection Act § 1029(a), 12 U.S.C. § 5519(a) (2012). It is also
important to note that the CFPB’s case against car dealers would be plagued by all the same legal and evidentiary
deficiencies as its case against auto financers, such as the lack of statutory authorization to pursue disparate impact
claims, inability to make a prima facie showing of causation, and inability to rebut the legitimate business needs
defense.



                                                          21
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 53 of 76 PageID #:192




unfounded legal theory of liability so it could go through auto financers in an attempt to
attack the car dealers indirectly.


     The CFPB’s Test For Harm In Indirect Auto Lending Makes The Same Errors
                   The Court Rejected In Inclusive Communities

         The CFPB has not only pursued disparate impact actions against auto financers, it
has forced several to settle their claims using an invalid calculus of consumer harm. As
noted in Unsafe at Any Bureaucracy II, the CPFB’s definition of harm, which it uses to
determine eligibility for remuneration, 80 is incorrect. When distributing the funds from the
disparate-impact settlement it reached with Ally, the CPFB considered borrowers who
entered into RISCs financed by Ally during the relevant time period to be eligible for
monetary relief if: (1) “at least one borrower on the contract . . . [is believed by the CFPB to
be] African American, Black, Latino, Hispanic, of Spanish origin, Asian, Native Hawaiian,
and/or other Pacific Islander”; 81 and (2) the borrower was “identified by the . . . [CFPB and
DOJ] as having been overcharged.” 82 The CFPB defined “overcharged” as “paying more
than the non-Hispanic white average” dealer participation. 83 The CFPB appears to have
used this definition of “overcharged” widely in its auto-lending settlements; internal
documents show it used this approach to quantify the costs of the alleged disparities for the
purposes of discussing proposed settlements with at least three other auto financers. 84


         The same deficiency that was revealed at several points in the CFPB’s assessment of
liability also undermines the legitimacy of its assessment of harm and recovery, namely,
the failure to be specific. By asking only whether a minority borrower paid more than the


80
   CFPB Staff has informed Committee staff that the CFPB did not attempt to determine whether potential claimants
to the Ally settlement were “harmed” but merely whether they met the criteria to receive a check from the
settlement. In light of the CFPB’s insistence that it did not assess whether the consumers it directed be mailed
checks were actually harmed by Ally, this report notes that fact here to avoid misstating any facts.
81
   Letter from Director Cordray to Chairman Hensarling (Aug. 31, 2015).
82
   Id.
83
   Id.; see also CFPB PowerPoint #1 at 10; CFPB PowerPoint #2 at 7; Ally Distribution Draft – Draft 1, at 1; see
generally Ally Distribution Draft – Draft 2; Ally Distribution Draft – Draft 3; Ally Distribution Draft – Draft 4.
84
   November 19, 2014, Decision Memorandum, 'Authorization to Seek a Settlement or Commence Litigation', at 3;
June 16, 2015, Decision Memo, at 3.



                                                       22
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 54 of 76 PageID #:193




non-Hispanic white average, the CFPB does not accurately assess whether he or she was
actually harmed by disparate impact. An accurate assessment of harm would determine
whether the minority borrower paid more than a similarly-situated non-Hispanic white
borrower for the entire purchase of the car, including not only the price of financing but
also the vehicle price, trade-in value, dealer-installed options, and “add-on” products that
the dealer and buyer negotiate at the same time as part of the total cost of the car. 85 At a
bare minimum, an accurate inquiry would compare the dealer participation included in the
RISC for a minority borrower against the average dealer participation for similarly-situated
non-Hispanic white borrowers, not all non-Hispanic white borrowers.


           For example, as described above, a dealer may set a higher dealer participation for
customers with low credit scores, because it is more difficult, time-consuming, and costly
for the dealer to find an auto-financer who is willing to accept a RISC from a less
creditworthy borrower. If an African-American borrower had a credit score of 780, he or
she should be compared against non-Hispanic white borrowers with similar credit scores
to determine whether and how much he or she was overcharged. If his or her dealer
participation is compared with the dealer participation of all non-Hispanic white
borrowers, and their average credit scores are closer to 550, they may have been charged
significantly higher dealer participation. That African-American borrower therefore would
fall at or below the non-Hispanic white average, and would be unable to recover settlement
remuneration. Whereas, if he or she were compared with non-Hispanic white borrowers
with equally high credit scores, it might be revealed that he or she was charged more than
they, and was therefore entitled to receive remuneration. Conversely, if that borrower had
a credit score of 500 and he or she was charged a higher dealer participation than the non-
Hispanic white average, that borrower might not be entitled to remuneration if it turned
out that his or her dealer participation was the same or lower than the average for non-
Hispanic white borrowers with a similar credit score.           Comparing similarly-situated
consumers is the only way to draw meaningful conclusions, and it is the only way to satisfy
the legal requirement to show causation.

85
     Unsafe at Any Bureaucracy, at 20.



                                               23
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 55 of 76 PageID #:194




           It is certainly true that a borrower could be entitled to damages in excess of the
difference between his or her dealer participation and the average for similarly-situated
non-Hispanic white borrowers if arguendo disparate impact were cognizable under ECOA;
the statute authorizes not only actual damages but also punitive damages. 86 Nonetheless,
only a minority borrower who was actually harmed could recover damages. And, only a
minority borrower who was charged more than the average for similarly-situated non-
Hispanic white borrowers could make a showing of harm.


           Fuzzy logic and false comparisons are unfortunately prevalent in the CFPB’s auto-
lending actions. In every aspect of the CFPB’s auto-lending actions, the CFPB’s lack of rigor
leads to unsupported and unreliable conclusions.




                                                     Rulemaking

      The CFPB Likely Violated The Administrative Procedure Act, Against Its
     Attorneys’ Advice, When Issuing Its Recent Rule Governing Auto Financers

           ECOA is not the only legal standard the CFPB has likely sidestepped. It also failed to
take steps that its attorneys advised the Director to undertake to comply with the
Administrative Procedure Act (APA) when issuing a major rulemaking governing the larger
participants in the auto-lending market.


           The APA governs the procedures for rulemaking by federal agencies. As CFPB
lawyers acknowledged in internal memoranda, section 553 of the APA “requires agencies
to publish ‘notice’ of ‘either the terms or substance of the proposed rule or a description of
the subjects and issues involved’ to ‘give interested persons an opportunity to participate
in the rule making through submission of written data, views, or arguments.’ Courts have
held that to satisfy the requirements of section 553 agencies must provide an opportunity

86
     Equal Credit Opportunity Act, §1691e(a), (b).



                                                         24
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 56 of 76 PageID #:195




for the public to comment on data and technical studies used to support a rule.” 87 An
agency must provide data supporting its conclusions, and if it fails to do so it must publish
the data and re-open its comment period. 88


         The Dodd-Frank Act authorizes the CFPB to enact a rule classifying certain auto
financers as “larger participants” in the consumer auto-lending market and subjecting them
to supervision. 89 In October 2014, the CFPB published a proposed rule that defined “larger
participants” in the market for automobile financing, and thereby “extend[ed] the Bureau's
supervisory authority over larger participants of the defined automobile financing market
. . . to supervise for compliance with the Equal Credit Opportunity Act” and other consumer
laws, 90 and “include[d] certain automobile leases in the Dodd-Frank Act definition of
‘financial product or service’ [which] would subject those leases to the prohibition on
unfair, deceptive, or abusive acts or practices.” 91


         The CFPB’s definition of “larger participants” is based upon “quantitative
information on the number of market participants and their number and dollar volume of
originations” taken from Experian’s AutoCount database. 92 During the comment period the
CFPB received multiple requests for a list of the institutions that it believed the rule would
cover and “a number of comments pertaining directly or indirectly to the Experian list.”93
The CFPB did not respond with the requested information because it “understood that
Experian regarded the AutoCount data and information derived from that data, including



87
   February 10, 2015, Briefing Memorandum for the Director, “Meeting on Auto LP Rule,” at 5 (quoting 5 U.S.C.
§§ 553(b), (c)) (citing Connecticut Light and Power Co. v. NRC, 673 F.2d 525, 530-31 (D.C. Cir. 1982) (finding that
integral to the notice requirement is the agency's duty "to identify and make available technical studies and data that
it has employed in reaching the decisions to propose particular rules .... An agency commits serious procedural error
when it fails to reveal portions of the technical basis for a proposed rule in time to allow for meaningful
commentary."); Am. Radio Relay League v. FCC, 524 F.3d 227, 236, 237 (D.C. Cir. 2008)).
88
   See id.
89
   See 12 CFR 1090.100 (2014).
90
   Defining Larger Participants of the Automobile Financing Market and Defining Certain Automobile Leasing
Activity as a Financial Product or Service, 79 Fed. Reg. 60,762, 60,773 (proposed Oct. 8, 2014).
91
   Id.at 60,774.
92
   Id. at 60,774.
93
   February 10, 2015, Briefing Memorandum for the Director, “Meeting on Auto LP Rule,” at 2-4.



                                                          25
     Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 57 of 76 PageID #:196




the names of the entities the Bureau estimates would be newly subject to supervision, as
proprietary.” 94


         The public comment period on the proposed rule closed on December 8, 2014.
Internal documents reveal that after the comment period ended, Experian informed the
CFPB that “it had no objection to releasing the list of entity names that the Bureau
estimated would be covered under the Bureau's proposed threshold as well as the relative
market share for each listed entity.” 95


         On February 10, 2015, CFPB attorneys wrote a memorandum to Director Cordray
“recommend[ing] publication of the Experian non-proprietary data and reopening of the
comment period for the Auto LP proposed rule . . . to comment on the released data,” and
warning that “there is a cognizable risk that a court would conclude” that the APA required
the CFPB to do so. 96 After explaining the legal analysis supporting their conclusion that the
CFPB should re-open the comment period, the attorneys outlined the possible negative
outcomes of doing so, including the risk of “Congressional scrutiny,” 97 the prospect that it
would “raise questions about whether the four prior Larger Participant rules were
procedurally defective since the Bureau did not solicit public comment on the identities of
the entities that would qualify for supervision[,]” 98 and the likelihood that “[t]he Bureau
might feel the need to manage . . . expectation[s] by providing a detailed explanation in
future rulemakings of exactly why the identities of potential larger participants are not
being released, which might draw attention to potential limitations of the dataset utilized
to support the rule. 99



94
   Id. at 2.
95
   See id. at 2, 5. The internal CFPB memo also implies that Experian never regarded this information as proprietary
in the first instance, as the memo refers to it throughout as “non-proprietary data.” See id. at 2 (“Following the close
of the comment period, Experian authorized the Bureau to release the requested names in order of number of
originations and each entity's percent market share (‘Experian non-proprietary data’).”); id. at 5,7-14.
96
   Id. at 2; see id. at 7-11.
97
   Id. at 13.
98
   Id. at 13.
99
   Id. at 12-13.



                                                          26
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 58 of 76 PageID #:197




         Despite the risk that the CFPB’s data would be exposed as inadequate if made
transparent, the attorneys advised that: “Although it would be difficult to avoid these
collateral consequences entirely, they, of course, do not provide a defense against § 553’s
notice and comment requirements. Moreover, it bears note that failure to release the
Experian non-proprietary data would create oversight risk. . . .” 100


         Later memoranda Committee Staff reviewed on the subject omit any mention of the
lawyers’ conclusion that the Administrative Procedure Act required the CFPB to release the
underlying data and reopen the comment period or the risk that greater transparency
would expose flaws in the dataset used. A June 3, 2015 memorandum signed by Director
Cordray and prepared by David Silberman, the Assistant Director for Research, Markets,
and Regulations, and one of his senior counsels recommended that the Director issue and
publish the final rule. 101 Nowhere does that memorandum (or any of the other prior legal
memoranda on the rule attached to that memorandum) mention Experian’s clarification
that much information was non-proprietary or raise the possibility of re-opening the
comment period.


         Although none of the documents the Committee has reviewed reflect whether
Director Cordray responded to this legal concern, it is known that Director Cordray did
express policy misgivings about the rule. An internal memorandum to Director Cordray
from his staff states: “We understand from our meeting on February 11, 2015, that you are
concerned that the proposed threshold . . . may be too low, given our limited supervisory
resources and the fact that it would include participants that are responsible for a small
percentage of market activity and that could be small businesses.” 102


         Rather than provide a substantive or policy justification for the low threshold
established by the proposed rule, CFPB staff admitted that CFPB had acted similarly before

100
    Id. at 13 (emphasis added).
101
    June 3, 2015, Decision Memorandum for the Director, “Issuance and Publication of Final Rule.”
102
    March 23, 2015, Briefing Memorandum for the Director, “Meeting on the Auto Finance Larger Participant Rule,”
at 3 (attached to June 3, 2015, Decision Memorandum for the Director, “Issuance and Publication of Final Rule”).



                                                      27
      Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 59 of 76 PageID #:198




and informed the Director that the CFPB had used thresholds low enough to define small
businesses paradoxically as “larger participants” in previous rulemakings: “[W]e have
acknowledged the fact that other larger participant rules could capture small businesses,
and in fact, estimated in the international money transfer rulemaking that 10 of 25 larger
participants would be small businesses.” 103 And, they added, the rulemaking would bolster
the CFPB’s data-collection efforts: “the Bureau may be able to gather some information
through supervisory activities . . . [that are] less resource-intensive . . . [so that] it may be
able to gather information from a larger number of entities in this market each year.” 104


         Despite the legal implications of failing to re-open the comment period flagged by
his lawyers — and the policy risk of failing to alter the rule to avoid burdening small
businesses by regulating them as “larger participants” — Director Cordray approved
issuing the Final Rule on June 3, 2015, and signed the final rule on June 5. 105 The Final Rule
was published on June 30, 2015 106 — without disclosure and public comment on the data
underlying the rulemaking.




103
    Id. at 4. At no point in the memorandum did the lawyers revisit whether the size of the businesses affected would
impact the Regulatory Flexibility Act analysis, which requires additional analysis of rules affecting small
businesses. Id.; see generally September 15, 2014, Decision Memorandum for the Director, “Proposed Rule . . . and
the Regulatory Flexibility Act” (attached to June 3, 2015, Decision Memorandum for the Director, “Issuance and
Publication of Final Rule”).
104
    Id. at 5.
105
    June 3, 2015, Decision Memorandum for the Director, “Issuance and Publication of Final Rule”; Signed Final
Rule (attached to June 3, 2015, Decision Memorandum for the Director, “Issuance and Publication of Final Rule”).
106
    See Defining Larger Participants of the Automobile Financing Market and Defining Certain Automobile Leasing
Activity as a Financial Product or Service, 80 Fed. Reg. 37496 (Jun. 30, 2015).



                                                         28
        Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 60 of 76 PageID #:199
Bartucci v. Wells Fargo Bank N.A., Not Reported in F.Supp.3d (2015)


                                                                   to Defendant to modify his loan under the Home Affordable
                                                                   Mortgage Program (“HAMP”), a federal program that assists
                  2015 WL 6955482
                                                                   eligible homeowners who face financial hardships with loan
    Only the Westlaw citation is currently available.
                                                                   modifications. (Id. ¶ 11.) In 2010, while Plaintiff's application
             United States District Court,
                                                                   for a home loan modification was still pending, Defendant
            N.D. Illinois, Eastern Division.
                                                                   served Plaintiff with a mortgage foreclosure complaint and
              Louis G. Bartucci, Plaintiff,                        summons. (Id. ¶ 14.)
                          v.
           Wells Fargo Bank N.A., Defendant.                       From 2010–2013, Plaintiff continued to contact Defendant in
                                                                   regards to his loan modification request. (Id. ¶ 15.) Plaintiff
                     Case No. 14 CV 5302                           alleges that during the loan modification process, he disclosed
                               |                                   his national origin on mandatory loan paperwork. (Id. ¶ 16.)
                      Signed 11/10/2015                            In June 2013, Defendant denied Plaintiff's loan modification
                                                                   request citing his negative net present value. (Id. ¶ 18.) Soon
Attorneys and Law Firms                                            thereafter, Plaintiff appealed Defendant's denial of his HAMP
                                                                   modification. (Id. ¶ 19.)
James Matthew Pfeiffer, Pfeiffer Law Offices, P.C., Wheaton,
IL, for Plaintiff.
                                                                   Plaintiff alleges that he made several telephone calls in
Lucia Nale, Charles Michael Woodworth, Michelle V. Dohra,          2013 to Defendant's representatives concerning his loan
Mayer Brown LLP, Chicago, IL, for Defendant.                       modification denial, but that Defendant's representatives told
                                                                   Plaintiff that they could not understand him because of
                                                                   his accent, that he needed to call back, and then hung up
                                                                   on him without any warning. (Id. ¶ 24.) Further, Plaintiff
       MEMORANDUM OPINION AND ORDER
                                                                   alleges that while attending a seminar hosted by Defendant,
Marvin E. Aspen, District Judge                                    a representative told Plaintiff “that he would probably have
                                                                   had an easier time obtaining a loan modification if he were in
 *1 Presently before us is Defendant Wells Fargo Bank N.A.'s       fact much younger.” (Id. ¶ 25.) On another occasion, Plaintiff
motion to dismiss a seven-count complaint filed by Plaintiff       alleges that one of Defendant's representatives expressed that
Louis G. Bartucci. Plaintiff's complaint alleges: (1) violation    Plaintiff's age factored into the denial of his loan modification
of the Fair Housing Act (“FHA”), 42 U.S.C. § 3605; (2)             request. (Id. ¶ 47.)
violation of the Equal Credit Opportunity Act (“ECOA”),
15 U.S.C. § 1691; (3) a claim for declaratory judgment;
(4) violation of 42 U.S.C. § 1983; (5) violation of the
                                                                                    STANDARD OF REVIEW
Illinois Consumer Fraud and Deceptive Business Practices
Act (“ICFA”), 815 ILCS 505/2; (6) breach of the Illinois           A motion to dismiss under Federal Rule of Civil Procedure
implied covenant of good faith and fair dealing; and (7) a         12(b)(6) is meant to test the sufficiency of the complaint,
claim for promissory estoppel.                                     not to decide the merits of the case. Gibson v. City of
                                                                   Chi., 910 F.2d 1510, 1520 (7th Cir. 1990). To survive a
Defendant moves to dismiss all counts. For the following           motion to dismiss, the complaint must contain a “short and
reasons, Defendant's motion to dismiss is granted in part, and     plain statement of the claim showing that the pleader is
denied in part.                                                    entitled to relief.” Fed. R. Civ. P. 8(a)(2). Specifically, “a
                                                                   complaint must contain sufficient factual matter, accepted as
                                                                   true, to 'state a claim to relief that is plausible on its face.”'
                      BACKGROUND                                   Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949
                                                                   (2009) (citing Bell Atl. Corp. v. Twombly, 540 U.S. 544,
In 2007, Plaintiff obtained a loan from Defendant for the          555, 127 S. Ct. 1955, 1964– 65 (2007)). The plausibility
purchase of a residential property. (Am. Compl. ¶ 6.) From         standard “is not akin to a 'probability requirement,' but it
2008 to 2009, Plaintiff faced financial difficulties meeting his   asks for more than a sheer possibility that a defendant has
mortgage payments. (Id. ¶ 8.) Plaintiff submitted paperwork        acted unlawfully.” Id. Thus, while a complaint need not



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               1
        Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 61 of 76 PageID #:200
Bartucci v. Wells Fargo Bank N.A., Not Reported in F.Supp.3d (2015)


give “detailed factual allegations,” it must provide more than    Wigginton v. Bank of America Corp., 770 F.3d 521, 522 (7th
“labels and conclusions, and a formulaic recitation of the        Cir. 2014) (granting defendant's motion to dismiss FHA claim
elements of a cause of action.” Twombly, 540 U.S. at 545, 127     because plaintiff failed to allege that someone else had been
S. Ct. at 1964–65; Killingsworth v. HSBC Bank Nevada, N.A.,       treated differently).
507 F.3d 614, 618–19 (7th Cir. 2007). The statement must be
sufficient to provide the defendant with “fair notice” of the     Plaintiff alleges that Defendant violated § 3605 of the FHA
claim and its basis. Twombly, 540 U.S. at 545, 127 S. Ct. at      when it denied him a loan modification request because of
1964 (quoting Conley v. Gibson, 355 U.S. 41, 47, 78 S. Ct. 99,    his national origin. (Am. Compl. ¶ 33.) Plaintiff alleges that
102 (1957)); Tamayo v. Blagojevich, 526 F.3d 1074, 1083 (7th      Defendant was aware of his national origin based on required
Cir. 2008). In evaluating a motion to dismiss, we must accept     disclosures on various loan applications. (Am. Compl. ¶¶ 28–
all well-pleaded allegations in the complaint as true and draw    30). Additionally, Plaintiff asserts that in 2013, in connection
all reasonable inferences in the plaintiff's favor. Thompson v.   with his HAMP loan modification request, Defendant's
Ill. Dep't of Prof'l Reg., 300 F.3d 750, 753 (7th Cir. 2002).     representatives frequently hung up the phone on him claiming
                                                                  that his accent was too difficult to understand. (Id. ¶¶ 31–
                                                                  33). We find that Plaintiff's allegations are insufficient to
                                                                  survive a motion to dismiss. Plaintiff fails to identify specific
                         ANALYSIS
                                                                  individuals who hung up on him and fails to allege that he was
 *2 Plaintiff brings both federal and state law claims. We will   treated differently than other loan applicants.
begin with an analysis of his federal claims.
                                                                  Accordingly, we grant Defendant's motion to dismiss Count I.

I. Plaintiff's Federal Claims
                                                                     B. Count II – Violation of Equal Credit Opportunity
   A. Count I – Violation of Fair Housing Act 42 U.S.C. §            Act 15 U.S.C. § 1691
   3605                                                           Plaintiff alleges that Defendant violated § 1691 of the ECOA
Plaintiff contends that Defendant violated § 3605 of the FHA,     that prohibits creditors from discriminating against any credit
which makes it “unlawful for any person or other entity whose     applicant “with respect to any aspect of a credit transaction
business includes engaging in residential real estate-related     [ +] on the basis of...national origin...or age.” 15 U.S.C. §
transactions to discriminate against any person in making         1691(a). To survive a 12(b)(6) motion to dismiss an ECOA
available such a transaction, or in the terms of conditions       claim, Plaintiff must allege that he was an applicant, as
of such a transaction, because of...national origin....” 42       defined by the ECOA 1 , and that Defendant treated him less
U.S.C. § 3605(a). A plaintiff may prove a violation of            favorably because of his national origin or age. FirstMerit
the FHA under two theories: (1) disparate treatment or            Bank, N.A. v. Ferrari, 71 F. Supp. 3d 751, 755 (N.D. Ill. Oct.
(2) disparate impact. Daveri Development Group, LLC v.            16, 2014); New Louisiana Holdings, LLC v. Arrowsmith, No.
Village of Wheeling, 934 F. Supp. 2d 987, 996 (N.D. Ill.          11 C 5031, 2012 WL 6061710, at *6 (N.D. Ill. Dec. 4, 2012).
March 21, 2013). Here, Plaintiff alleges that Defendant
engaged in disparate treatment when it denied him a loan           *3 Similar to a FHA claim, to survive a motion to dismiss
modification based on his national origin. To survive a           on an ECOA claim, Plaintiff must simply present a “plausible
motion to dismiss, a FHA claim must allege discrimination         scenario,...even though it may not accurately describe what
related to the terms, conditions, privileges, or provisions of    actually occurred.” FirstMerit Bank, N.A., 71 F. Supp. 3d
services of a dwelling. Swanson v. Citibank, N.A., 614 F.3d       at 755 (holding that ECOA complaint survived a motion to
400, 405 (7th Cir. 2010). Specifically, Plaintiff must plead:     dismiss when complaint alleged that Bank refused to finalize
(1) the type of discrimination he believes occurred; (2) by       settlement because individual was Hispanic and that Bank's
whom; (3) and when. Id. (finding that plaintiff's FHA claim       loan officer made biased comments about doing business with
survived a motion to dismiss when she alleged that she was        Hispanics).
discriminated against based on her race, by a named manager
at Citibank, in connection with her efforts in early 2009 to      Plaintiff alleges that Defendant discriminated against him
obtain a home-equity loan). Finally, to support his disparate     based on his national origin when Defendant hung up the
treatment allegation, Plaintiff must allege that he was treated   phone on him and refused to provide him information
differently than other applicants based on his national origin.


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                              2
         Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 62 of 76 PageID #:201
Bartucci v. Wells Fargo Bank N.A., Not Reported in F.Supp.3d (2015)


concerning his loan because of his accent. Plaintiff alleges          Chase Bank N.A., No. 11 C 6999, 2012 WL 5989295, at *3
that Defendant discriminated against him based on age when            (N.D. Ill. Nov. 29, 2012). Because the Declaratory Judgment
Defendant's representatives told him he would have “an                Act provides no relief unless there is a justiciable controversy
easier time obtaining a loan modification if he were in fact          between the parties, and because no private right of action
much younger.” (Am. Compl. ¶ 43, 47.) These allegations               exists under HAMP, we grant Defendant's motion to dismiss
present a plausible scenario in which Plaintiff was unlawfully        Count III 2 .
discriminated against based on his national origin or age.

For the reasons stated above, we deny Defendant's motion to              D. Count IV – Violation of 42 U.S.C. § 1983
dismiss Count II.                                                      *4 Plaintiff brings a fourth claim alleging that Defendant
                                                                      violated 42 U.S.C. § 1983. We grant Defendant's motion to
                                                                      dismiss Count IV because Plaintiff has not demonstrated that
   C. Count III – Declaratory Judgment 28 U.S.C. § 2201               Defendant was acting under the color of law.
Plaintiff seeks a declaratory judgment affirming various rights
under HAMP pursuant to the Declaratory Judgment Act, 28               Section 1983 provides that “[e]very person who, under color
U.S.C. § 2201, which enables a party “to 'clarify[ +] and             of any statute, ordinance, regulation, custom, or usage, of
settl[e] the legal relations at issue' and to 'terminate and afford   any State” deprives a person of his federal constitutional or
relief from uncertainty, insecurity, and controversy giving rise      statutory rights shall be liable in an action at law. 42 U.S.C.
to the proceeding.” Amari v. Radio Spirits, Inc., 219 F. Supp.        § 1983. To survive a motion to dismiss a § 1983 claim, a
2d 942, 944 (N.D. Ill. Sept. 12, 2002) (citing Tempco Elec.           plaintiff must allege facts which show that the defendant
Heater Corp. v. Omega Eng'g, Inc., 89 F.2d 746, 747 (7th              deprived him of a right secured by the Constitution or any
Cir. 1995)). The purpose of the Act is “to avoid accrual of           law of the United States and that the deprivation of that right
avoidable damages to one not certain of his rights and to             resulted from the defendant acting under color of law. Lekas
afford him an early adjudication, without waiting until his           v. Briley, 405 F.3d 602, 606 (7th Cir. 2005) (citing Brokaw v.
adversary should see fit to begin suit.” Nucor Corp. v. Aceros        Mercer Cty., 235 F.3d 1000, 1009 (7th Cir. 2000) (emphasis
Y Maquilas de Occidente, S.A. de C.V., 28 F.3d 572, 577 (7th          added)). Non-state actors may be found to act under color of
Cir. 1994) (citing Cunningham Bros., Inc. v. Bail, 407 F.2d           state law when they have conspired or acted in concert with
1165, 1167 (7th Cir. 1969)).                                          state actors to deprive a person of his civil rights. Adickes
                                                                      v. S.H. Kress & Co., 398 U.S. 144, 152, 90 S. Ct. 1598,
Federal courts may issue declaratory judgments only in cases          1605 (1970). In other words, for a private individual to act
of “actual controversy.” Int'l Harvester Co. v. Deere & Co.,          under color of law, there must be evidence of a concerted
623 F.2d 1207, 1210 (7th Cir. 1980). A justiciable “actual            effort between a state actor and that private individual. Fries
controversy” exists only when a private right of action is            v. Helsper, 146 F.3d 452, 457 (7th Cir. 1998).
available. Schilling v. Rogers, 363 U.S. 666, 677, 80 S. Ct.
1288, 1296 (1960) (citing Skelly Oil Co. v. Phillips Petroleum        Plaintiff alleges that Defendant violated 42 U.S.C. § 1983
Co., 339 U.S. 667, 671, 70 S. Ct. 876, 879 (1950)); see               when Defendant, acting under the color of law, denied his
also Villasenor v. American Signature, Inc., No. 06 C 5493,           requests for a loan modification because of his national origin
2007 WL 2025739, at *6 (N.D. Ill. July 9, 2007) (finding              and age. (Am. Compl. ¶ 61.)
that where there is no private right of action available for
an alleged statutory violation, a declaratory judgment claim          Plaintiff boldly alleges that the Defendant “was acting under
cannot proceed).                                                      color of state and federal law when it denied his several
                                                                      requests for loan modification” yet states no facts to support
Plaintiff asks us to enter a declaratory judgment that clarifies      such a claim. (Am. Compl. ¶ 61.) Plaintiff does not assert that
the parties' rights and obligations under HAMP; declares that         Defendant is a state actor or conspired or acted in concert
Plaintiff qualifies for a loan modification under HAMP; and           with state actors and therefore does not allege enough facts
declares that Defendant did not properly consider Plaintiff           to support a § 1983 claim. Accordingly, we grant Defendant's
for a loan modification under HAMP. (Am. Compl. ¶ 58.)                motion to dismiss Count IV.
The Seventh Circuit, however, has held that HAMP contains
no private right of action. Wigod v. Wells Fargo Bank, N.A.,
673 F.3d 547, 555 (7th Cir. 2012); Baginski v. JP Morgan              II. Plaintiff's State Law Claims


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                3
        Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 63 of 76 PageID #:202
Bartucci v. Wells Fargo Bank N.A., Not Reported in F.Supp.3d (2015)


                                                                   To state an ICFA deceptive conduct claim, a plaintiff must
   A. Count V – Illinois Consumer Fraud and Deceptive              allege: “(1) a deceptive act or practice by the defendant, (2)
   Business Practices Act                                          the defendant's intent that the plaintiff rely on the deception,
Plaintiff alleges that Defendant violated the ICFA, which          (3) the occurrence of the deception in the course of conduct
prohibits: “unfair or deceptive acts or practices, including but   involving trade or commerce, and (4) actual damage to the
not limited to the use or employment of any deception [or]         plaintiff (5) proximately caused by the deception.” Avery v.
fraud....” ILCS.                                                   State Farm Mut. Auto. Ins. Co., 216 Ill. 2d 100, 180, 835
                                                                   N.E.2d 801, 850 (Ill. 2005). District courts have held that a
The ICFA is “a regulatory and remedial statute intended to         loan servicer's alleged failure to consider plaintiff's eligibility
protect consumers, borrowers, and business persons against         for a HAMP modification is a sufficient predicate for an ICFA
fraud, unfair methods of competition, and other unfair and         claim. Boyd, 787 F. Supp. 2d at 752. Additionally, an ICFA
deceptive business practices.” Robinson v. Toyota Motor            claim does not require “proof of intent to deceive;” rather, a
Credit Corp., 2011 Ill. 2d 403, 416–17, 775 N.E.2d 951, 960        plaintiff only needs to allege “that the defendant committed a
(2002).                                                            deceptive or unfair act and intended that the plaintiff rely on
                                                                   that act.” Wigod, 673 F.3d at 575. As to damages, courts have
The statute provides redress not only for deceptive business       held that the inability to fairly negotiate a plan to stay in the
practices, but also for business practices that, while not         home constitutes economic damages under the ICFA. Boyd,
deceptive, are unfair. Boyd v. U.S. Bank, N.A. ex rel., 787        787 F. Supp at 754.
F.Supp. 2d 747, 751 (N.D. Ill. April 12, 2011); Robinson,
2011 Ill. 2d at 417, 775 N.E.2d at 960. Plaintiff alleges that     Plaintiff alleges that Defendant engaged in deceptive conduct
Defendant engaged in both deceptive and unfair conduct.            when various representatives assured him that he would
(Am. Compl. ¶¶ 70–71).                                             qualify for a HAMP loan modification, provided him
                                                                   differing information as to the status of his loan modification,
The correct legal standard for a motion to dismiss under an        gave him explanations that led to dead-ends and excuses
ICFA claim differs for claims alleging deceptive conduct and       as to why his loan modification was not being processed
claims alleging unfair conduct. Windy City Metal Fabricators       or granted, and created “nonsensical tasks” for Plaintiff to
& Supply, Inc., v. CIT Tech. Fin. Servs. Inc., 536 F.3d 663,       complete in order to be eligible for a loan modification. (Am.
659 (7th Cir. 2008). Because Plaintiff alleges both deceptive      Compl. ¶¶ 68–71.) Plaintiff alleges Defendant had “motive
and unfair conduct, we will analysis each component of the         [to make]...and stands to profit,” (Am. Compl. ¶ 72), from
claim under the appropriate standard of review.                    the deceptive communications and that as a result of his
                                                                   reliance on Defendant's unfair and deceptive conduct, he
 *5 Where Plaintiff alleges deceptive conduct, the heightened      incurred actual damage in the form of monetary losses and
9(b) rule applies. Pirelli Armstrong Tire Corp. Retiree            the imminent loss of his property to foreclosure. (Id. ¶¶ 83–
Medical Benefits Trust v. Walgreen Co., 631 F.3d 436,              84). We find that Plaintiff's allegation as to deceptive conduct
441(7th Cir. 2011) (citing Davis v. G.N. Mortg. Corp.,             under the ICFA survive even a heightened 9(b) analysis.
396 F.3d 869, 883 (7th Cir. 2005)); DiLeo v. Ernst &
Young, 901 F.2d 624, 627 (7th Cir. 1990). To meet this             Next we consider Plaintiff's allegations of unfair conduct.
heightened pleading standard, plaintiff must allege the “who,      Claims alleging unfair conduct under the ICFA are subject
what, when, where and how” of the alleged deceptive                to a Rule 8(a) notice pleading standard. Windy City Metal,
conduct. Pirelli Armstrong Tire, 631 F.3d at 441. More             536 F.3d at 670 (“Because neither fraud nor mistake is an
specifically, the pleader must detail “the identity of the         element of unfair conduct under [the ICFA], a cause of action
person who made the misrepresentation, the time, place and         for unfair practices under the [ICFA] need only meet the
content of the misrepresentation, and the method by which          notice pleading standard of Rule 8(a), not the particularity
the misrepresentation was communicated to the plaintiff.”          requirement in Rule 9(b).”).
McGann v. PNC Bank, Nat. Ass'n, No. 11 C 06894, 2013 WL
1337204, at *5 (N.D. Ill. 2013 March 29, 2013) (citing Gen.        For conduct to be considered unfair, we consider three factors:
Elec. Capital Corp. v. Lease Resolution Corp., 128 F.3d 1074,      (1) whether the practice offends public policy; (2) whether it
1078 (7th Cir. 1997); Vicom, Inc. v. Harbridge Merchant            is immoral, unethical, oppressive, or unscrupulous; and (3)
Servs., Inc., 20 F.3d 771, 777 (7th Cir. 1994)).                   whether it causes substantial injury to consumers. Robinson,



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                4
        Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 64 of 76 PageID #:203
Bartucci v. Wells Fargo Bank N.A., Not Reported in F.Supp.3d (2015)



201 Ill. 2d at 417–18, 775 N.E.2d at 961. The Seventh Circuit     contractual relief under Illinois law. Wigod, 673 F.3d at
has held that a Plaintiff need not use the exact language in      566. To establish the elements of a promissory estoppel
                                                                  claim, the plaintiff must prove that: (1) defendant made an
his complaint to describe the three factors listed above. See
                                                                  unambiguous promise to plaintiff, (2) plaintiff relied on such
Windy City Metal Fabricators, 536 F.3d at 672 (holding that
                                                                  promise, (3) plaintiff's reliance was expected and foreseeable
plaintiff adequately stated a claim for relief when complaint
                                                                  by defendants, and (4) plaintiff relied on the promise to
alleged conduct that could support the statutory definition of
                                                                  its detriment. Id. Under Illinois law, promissory estoppel
unfairness even if the complaint did not specifically use the
                                                                  is considered an equitable device wherein a contract may
words “immoral, unethical, oppressive, or unscrupulous”).
                                                                  be implied where none is found to exist for a lack of
Plaintiff does not use the word “unethical,” but does allege
that Defendant's representatives promised over the telephone      consideration. Dumas v. Infinity Broadcasting Corp., 416
that he would receive a loan modification, yet ultimately         F.3d 671, 766 (7th Cir. 2005). A claim for promissory
denied him the request, (Am. Compl. ¶ 71), allegations that,      estoppel will succeed only where all the other elements of a
if taken as true, could be considered immoral and unethical.      contract exist. Id. Thus, in order to succeed on his claim of
                                                                  promissory estoppel, Plaintiff must present written evidence
*6 For the reasons stated above, we deny Defendant's              of an “unambiguous promise” which, but for the existence
motion to dismiss Count V.                                        of consideration, would constitute an enforceable contractual
                                                                  agreement under Illinois law. Id.

   B. Count VI – Breach of the Implied Covenant of                Plaintiff does not present written evidence that Defendant
   Good Faith and Fair Dealing                                    unambiguously promised him a loan modification. Instead,
Plaintiff alleges that Defendant breached the implied             to support his claim, Plaintiff simply alleges that Defendant
covenant of good faith and fair dealing by “requiring [the        “communicated to [Plaintiff] during several telephone
Plaintiff] to extend to meet unreasonable expectations, go        conversations that [he] would be able to qualify for a loan
through obstacles, and falsely promise that he would get          modification under his existing contract.” (Id. ¶ 81.) This
a modification after fulfilling all tasks it demanded of          assertion is not specific enough to sufficiently plead that
him.” (Am. Compl. ¶ 78.)                                          Defendant made an unambiguous promise to Plaintiff.

Under Illinois law, the covenant of good faith and fair dealing   Therefore, we grant Defendant's motion to dismiss Count VII.
is not an independent cause of action. Wilson v. Career Educ.
Corp., 729 F.3d 665, 687 (7th Cir. 2013); Brooklyn Bagel
Boys, Inc. v. Earthgrains Refrigerated Dough Prods., Inc.,
                                                                                        CONCLUSION
212 F.3d 373, 381 (7th Cir. 2000). Instead, the covenant only
guides the construction of explicit terms in an agreement.        For the aforementioned reasons, we deny Defendant's motion
Id. Plaintiff has not alleged that he entered into an explicit    to dismiss Counts II and V and grant Defendant's motion to
agreement with Defendant or that a contract between the           dismiss Counts I, III, IV, VI and VII. It is so ordered.
parties exists. Therefore, Count VII is dismissed.

                                                                  All Citations
  C. Count VII – Promissory Estoppel
Plaintiff also brings a state law promissory estoppel claim.      Not Reported in F.Supp.3d, 2015 WL 6955482
Promissory estoppel is an alternative means of obtaining




                                                          Footnotes


1      Defendant does not argue that Plaintiff was not an applicant under the ECOA, so we focus on the second
       prong of the analysis; whether Plaintiff has sufficiently alleged that he was treated less favorable based on
       his national origin or age.



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                           5
       Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 65 of 76 PageID #:204
Bartucci v. Wells Fargo Bank N.A., Not Reported in F.Supp.3d (2015)


2     Plaintiff broadly contends that his claim is not seeking to enforce HAMP but instead is based on civil
      rights violations, specifically, Defendant's failure to provide an accounting as to how Defendant determined
      ineligibility under HAMP. (See Reply-Mot. to Dismiss at 5–6.) Despite Plaintiff's blanket assertion that he
      seeks a declaratory judgment based on civil rights violations, Plaintiff cites only to HAMP for both enforcement
      and relief. (Am. Compl. ¶¶ 56–57.)


End of Document                                         © 2020 Thomson Reuters. No claim to original U.S. Government Works.




              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        6
        Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 66 of 76 PageID #:205
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)




                  2012 WL 6061710                                                    RELEVANT FACTS
    Only the Westlaw citation is currently available.
             United States District Court,                       Corporate Plaintiffs consist of a network of nursing facilities
                    N.D. Illinois,                               that provide long-term care to seniors. (R. 1, Compl. ¶¶
                  Eastern Division.                              30, 32 .) Plaintiff Harris Schwartzberg (“Schwartzberg”)
                                                                 and his father, Albert Schwartzberg, who is not a party to
   NEW LOUISIANA HOLDINGS, LLC; Fountain                         this suit (collectively, the “Schwartzbergs”), are Jewish. (R.
  View 215 Tenant LLC; Jackson Manor 1691 Tenant                 1, Compl. at 2.) According to Plaintiffs, on January 18,
     LLC; Panola 501 GP LLC; Retirement Center                   2006, “the Schwartzbergs, through Plaintiff New Louisiana
    14686 Tenant LLC; Acadian 4005 Tenant LLC;                   Holdings, LLC and its affiliates, acquired the right to operate
     Lakewood Quarters Rehab 8225 Tenant LLC;                    twelve nursing and assisted living facilities in and around
                                                                 Louisiana.” (Id. at 3; id. ¶ 39.) The acquisition was effected
     Regency 14333 Tenant LLC; Sherwood 2828
                                                                 through a number of agreements. (Id. ¶ 40.) The purchase
   Tenant LLC; Lakewood Quarters Assisted 8585
                                                                 of the twelve nursing facilities was financed through a term
    Tenant LLC; Panola 501 Partners LP; Citiscape
                                                                 loan that was secured by the real estate and physical assets
     Out Parcel Tenat LLC; Citiscape 5010 Tenant                 of the facilities. (Id. ¶¶ 40–41.) The borrowers on the term
     LLC; St. Charles 1539 Tenant LLC; Woodland                  loan (the “Term Borrowers”) are the title holders of the real
     Village 5301 Tenant LLC; Atrium 6555 Tenant                 estate and physical assets of the twelve nursing facilities and
       LLC; and Harris Schwartzberg, Plaintiffs,                 are not parties to this action. (Id. ¶ 41.) The Term Borrowers
                          v.                                     lease the twelve nursing facilities to Corporate Plaintiffs.
          Richard ARROWSMITH, Defendant.                         (Id ) In addition to leasing the twelve nursing and assisted
                                                                 living facilities, the Corporate Plaintiffs also operate the
                        No. 11 C 5031.                           facilities. (Id. ¶ 42.) Merrill Lynch Capital (“Merrill”), CIT,
                               |                                 and Marathon were the original lenders on the Term Loan.
                        Dec. 4, 2012.                            (Id. ¶ 40.)

                                                                 In a separate agreement, the original lenders entered into
       MEMORANDUM OPINION AND ORDER                              a Credit and Security Agreement (the “Operating Loan”)
                                                                 with Corporate Plaintiffs. (Id. ¶ 42.) The Operating Loan
RUBEN CASTILLO, District Judge.                                  contains two credit facilities: (1) a term loan in the original
                                                                 principal amount of $14 million, and (2) a revolving credit
 *1 New Louisiana Holdings, et al, 1 (“Plaintiffs”) initiated
                                                                 loan of up to $8 million. 4 (Id.) The Operating Loan appointed
this discrimination suit against GE Business Financial
                                                                 an “Administrative Agent” and granted the Administrative
Services, Inc. (“GE Financial”); GE Healthcare Financial
                                                                 Agent discretion to make decisions regarding the revolving
Services, Inc.; General Electric Capital Corporation; CIT
                                                                 loan. (Id. ¶ 45.) Originally, Merrill acted as the Administrative
Healthcare LLC (“CIT”); Marathon Structured Finance Fund,
                                                                 Agent. (Id. ¶ 49.) In connection with Corporate Plaintiffs'
L.P. (“Marathon”) (collectively, the “Entity Defendants”);
                                                                 execution of the Operating Loan, Schwartzberg executed
and Richard Arrowsmith (“Arrowsmith”) (collectively, with
                                                                 Guaranty Agreements, (id. ¶¶ 17, 143), pursuant to which he
the Entity Defendants, “Defendants”). The Plaintiffs bring
                                                                 personally guaranteed the payment of the Operating Loan. (R.
claims pursuant to 42 U.S.C. § 1981 (“Section 1981”) and
                                                                 29–3, Ex. B, Guaranty Agreement; R. 29–4, Ex. C, Amended
the Equal Credit Opportunity Act (“ECOA”), 15 U.S.C. §
                                                                 Guaranty Agreement.) In December 2007, GE Financial
1691 et seq. (R. 1, Compl.) Presently before the Court are
                                                                 acquired Merrill's healthcare financing business and, as a
Arrowsmith's motion to dismiss pursuant to Federal Rule of
                                                                 result, assumed Merrill's position as the Administrative Agent
Civil Procedure 12(b)(6), 2 (R. 25, Arrowsmith's Mot.), and
                                                                 for the Operating Loan. 5 (Id. ¶ 50.) GE Financial designated
Arrowsmith's amended petition for fees, (R. 58, Arrowsmith's
                                                                 Arrowsmith as the individual responsible for administering
Am. Pet). 3 For the reasons discussed herein, the Court grants   the Operating Loan. (Id. ¶ 51.)
Arrowsmith's motion to dismiss and his petition for fees.




               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                             1
        Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 67 of 76 PageID #:206
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)


 *2 The gravamen of Plaintiffs' complaint is that                  not anticipate being granted a further opportunity to amend,
Arrowsmith's anti-Semitism affected the administration of the      should [the court] find that there is merit in some or all of
Operating Loan, making it difficult for Corporate Plaintiffs       the defendants' arguments .” (Id.) On July 25, 2011, Plaintiffs
to operate effectively. (Id at 24.) According to Plaintiffs,       voluntarily dismissed the New York Action pursuant to Rule
“Arrowsmith embarked upon a campaign to harm the                   41(a) of the Federal Rules of Civil Procedure and did not
Schwartzberg family and to hurt their business after he took       amend their complaint. Min. Entry, New Louisiana Holdings,
over as the loan administrator for the Lenders.” (Id at 3.)        LLC v. GE Business, No. 11–3773 (July 25, 2011) ECF No. 4.
Specifically, Plaintiffs allege that Arrowsmith declared a         That same day, in compliance with the terms of the Operating
series of defaults under both the Operating and Term Loans,        Loan, Plaintiffs re-filed their action against Defendants in
(id. ¶¶ 56–57), dramatically decreased the amount of funds         the Northern District of Illinois. (R.1, Compl.) The case was
available to be borrowed through the Operating Loan, (id.          randomly assigned to this Court.
¶ 59), caused GE Financial to assess financial penalties
on Corporate Plaintiffs, (id.), and increased the amount of         *3 On July 29, 2011, Defendants moved the Court for
required reserves thereby further reducing the amount of           an order directing Plaintiffs to pay the costs and fees they
funds available to be borrowed, (id. ¶¶ 62, 72–73). Plaintiffs     incurred in defending the suit that Plaintiffs filed in the
allege that Arrowsmith referred to the Schwartzbergs as            Southern District of New York, and for an order staying
“those people,” (id at 4, ¶ 63), and that he was motivated to      the current action until Plaintiffs did so, pursuant to Rule
take these actions by his anti-Semitism, (id. ¶ 66).               41(d) (the “Costs Motion”). (R. 8, Defs.' Mot. at 1–2.)
                                                                   On August 10, 2011, the Court granted Defendants' Costs
                                                                   Motion. (R. 20, Min.Entry.) The Court awarded Defendants
                                                                   those costs incurred in litigating the New York Action that
                PROCEDURAL HISTORY
                                                                   were not necessary or useful to the instant action, and ordered
On June 2, 2011, Plaintiffs filed a six-count complaint            Defendants to file a petition for costs by August 24, 2011.
against Defendants in the United States District Court for         (Id.; R. 59–1, Ex. 1, Aug. 10, 2011 Tr. at 8:9–13.) On August
the Southern District of New York (“the New York Action”),         24, 2011, Defendants filed the court-ordered petition. (R 21,
asserting that Arrowsmith had discriminated against them in        Defs.' Pet.)
violation of Section 1981 and the ECOA. (R. 9–1, Ex. 1,
S.D.N.Y.Compl.) Plaintiffs also asserted claims for breach         On November 16, 2011, the Entity Defendants and Plaintiffs
of contract, and breach of the covenant of good faith and          filed an agreed motion to dismiss the Entity Defendants,
fair dealing, and they sought an accounting and a declaratory      which the Court granted on November 21, 2011. (R. 38,
                                                                   Joint Mot.) The Entity Defendants were thereby dismissed
judgment. 6 (Id ) Plaintiffs filed their action in the Southern
                                                                   from this action with prejudice and without cost to Plaintiffs
District of New York, even though Corporate Plaintiffs agreed
                                                                   or Entity Defendants. (R. 44, Min. Entry; R. 45, Order of
in the Operating Loan to submit to the jurisdiction of state or
                                                                   Dismissal.) On June 4, 2012, the Court dismissed as moot
federal courts in Chicago, Illinois. (R. 29–2, Ex. A, Credit and
                                                                   Defendants' petition for costs on the grounds that the Entity
Security Agreement (Revolving Credit and Term Loan) dated
                                                                   Defendants were no longer parties to the action subject to the
as of January 18, 2006, at 27.) On July 13, 2011, Defendants
                                                                   agreed order of dismissal. (R. 46, Min.Entry.) On June 19,
filed a letter with Judge Naomi Reice Buchwald, the judge
                                                                   2012, Arrowsmith moved for reconsideration of the Court's
in the Southern District of New York to whom Plaintiffs'
                                                                   June 4 minute entry because Defendants' petition for fees was
action was assigned. (R. 9–2, Ex. 2, July 13, 2011 Letter.)
                                                                   filed on behalf of all Defendants, including Arrowsmith, and
In their letter, Defendants requested a pre-motion conference
                                                                   therefore the petition for fees was not moot as to him. (R.
in advance of filing a motion to dismiss and setting forth
                                                                   47, Arrowsmith's Mot. Recons.; R. 48, Arrowsmith's Mem.)
the anticipated basis of that motion. (Id.; R. 9, Defs.' Mot.
                                                                   On June 28, 2012, the Court heard the motion to reconsider
for Costs Mem. at 3.) On July 21, 2011, Judge Buchwald
                                                                   and ordered Arrowsmith to submit a separate fee petition
informed the parties via letter that the court “wish[ed] to
                                                                   by July 12, 2012. (R 55, Min. Entry.) On July 12, 2012,
afford plaintiffs an opportunity to amend their complaint
                                                                   Arrowsmith filed an amended fee petition seeking $16,269.00
within twenty (20) days[.]” (R. 9–4, Ex. 4, July 21, 2011
                                                                   in attorneys' fees incurred in litigating the New York Action
Letter at 2.) Judge Buchwald further stated that “having
                                                                   and $13,710.00 incurred in researching, drafting, and filing
been afforded the opportunity to amend the complaint in
                                                                   the Costs Motion, for a total of $29,979.00 in attorneys' fees.
response to the defendants' letter submission, plaintiffs should


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                            2
         Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 68 of 76 PageID #:207
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)


(R 58, Arrowsmith's Am. Pet. at 1–2.) On July 23, 2012,               detailed factual allegations, but must contain sufficient factual
Plaintiffs filed a response brief in opposition to Arrowsmith's       matter that when accepted as true, states a claim to relief that
amended fee petition. (R. 61, Pl.'s Resp.)                            is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678
                                                                      (2009) (quoting Bell Atl. Corp, 550 U.S. at 570). If the factual
In the instant action, Plaintiffs assert six counts against           allegations are well-pleaded, the Court assumes their veracity
Defendants. The relevant counts that remain after the                 and then proceeds to determine whether they plausibly give
dismissal of the Entity Defendants are Counts I, II, and V. 7         rise to an entitlement to relief. Id. at 679. “A claim has
                                                                      facial plausibility when the plaintiff pleads factual content
In Count I, Corporate Plaintiffs 8 allege that “Defendants
                                                                      that allows the court to draw the reasonable inference that
intentionally discriminated against [them] on the basis of their
                                                                      the defendant is liable for me misconduct alleged.” Id at 678.
racial identity,” in violation of Section 1981. (R. 1, Compl.¶
                                                                      “Plausibility” in this context does not imply that the Court
16.) In Count II, Corporate Plaintiffs allege that “Defendants
                                                                      “should decide whose version to believe, or which version is
discriminated against [them] on the basis of their Jewish
                                                                      more likely than not.” Swanson v. Citibank, N.A., 514 F.3d
identity with respect to the Loan Agreements[,]” through
                                                                      400, 404 (7th Cir.2010). Rather, to survive a motion to dismiss
their administration of the Operating Loan, in violation of the
                                                                      under Rule 12(b)(6), the “plaintiff must give enough details
ECOA. (Id. ¶ 123.) In Count V, Corporate Plaintiffs allege that
                                                                      about the subject matter of the case to present a story that
“Defendants have acted in bad faith by tailing to disclose their
                                                                      holds together.” Id. In other words, “the court will ask itself
calculations, methodologies, and other bases for” reducing
                                                                      could these things have happened, not did they happen.” Id.
available funds, withholding funds in reserve accounts, and
demanding that Corporate Plaintiffs pay excessive loan-
related fees, penalties, and expenses, and Corporate Plaintiffs
accordingly request an accounting. (Id. ¶ 137.)                                                ANALYSIS

 *4 On September 7, 2011, Arrowsmith filed a motion to                I. Motion to dismiss
dismiss. (R. 25, Arrowsmith's Mot) Arrowsmith argues that             In Counts I and II, Corporate Plaintiffs allege that Arrowsmith
Plaintiffs' discrimination claims should be dismissed because         discriminated against them on the basis of their racial and
Plaintiffs have Med to sufficiently allege that they have a           religious identities—Jewish—in violation of Section 1981
racial or religious identity. (R. 24–1, Defs.' Mem. at 12–            and the ECOA. (R. 1, Compl.¶¶ 116, 123.) Specifically,
16.) On October 11, 2011, Plaintiffs filed a response to              in Count I, Corporate Plaintiffs allege that they are each
Arrowsmith's motion to dismiss, (R. 33, Pls.' Resp.), and on          “a legal identity that has acquired a racial identity,” (id. ¶
November 1, 2011, Arrowsmith filed a reply in support of his          115), and that “Defendants intentionally discriminated against
motion, (R. 37, Arrowsmith's Reply).                                  [them] on the basis of their racial identity,” (id. ¶ 116). In
                                                                      Count n, Corporate Plaintiffs allege that they are each “a
                                                                      legal identity that has acquired a racial and religious identity
                                                                      with a minority group,” (id. ¶ 120), and that “Defendants
                    LEGAL STANDARD                                    discriminated against [them] on the basis of their Jewish
                                                                      identity,” (id. ¶ 123).
A motion to dismiss pursuant to Rule 12(b)(6) “challenges
the sufficiency of the complaint to state a claim upon which
                                                                       *5 Arrowsmith argues that Corporate Plaintiffs' Section
relief may be granted.” Hallinan v. Fraternal Order of Police
                                                                      1981 and ECOA claims should be dismissed “for failure
of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th Cir.2009). When
                                                                      to allege adequately that Corporate Plaintiffs, the entities
reviewing a motion to dismiss, the Court accepte as true all
                                                                      asserting the claims, have a racial or religious identity.” (R.
of the factual allegations pled in the complaint and draws all
                                                                      29, Arrowsmith's Mem. at 9–10.) According to Arrowsmith,
reasonable inferences in favor of the nonmoving party. Id.
                                                                      Counts I and II are devoid of any factual support for Corporate
Pursuant to Rule 8(a)(2), a complaint must contain “a ‘short
                                                                      Plaintiffs' fundamental allegation that they have a racial
and plain statement of the claim showing that the pleader is
                                                                      or religious identity. (Id. at 13.) Arrowsmith argues that
entitled to relief,’ sufficient to provide the defendant with ‘fair
                                                                      Corporate Plaintiffs' “sole allegation mat the entities are
notice’ of the claim and its basis.” Tamayo v. Blagojevich,
                                                                      members of a protected class is that [they] have acquired a
526 F.3d 1074, 1081 (7th Cir.2008) (quoting Fed.R.Civ.P. 8(a)
                                                                      racial and religious identity with a minority group, namely
(2); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).
                                                                      Jews.” (Id.)
To survive amotion to dismiss, a complaint need not contain


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                 3
         Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 69 of 76 PageID #:208
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)


                                                                    than other applicants.”); see also Estate of Davis v. Wells
Furthermore, Arrowsmith argues that “the Complaint                  Fargo Bank, 633 F.3d 529, 538 (7th Cir.2011).
contains no allegations that Arrowsmith, the only direct actor
described in the Complaint, discriminated against Corporate          *6 Therefore, under both Section 1981 and the ECOA,
Plaintiffs.” (Id. at 10.) According to Arrowsmith, the              a plaintiff must allege that he is a member of a protected
Complaint only alleges that he referred to the Schwartzbergs        class who was discriminated against because of his minority
as “those people,” but “there is no support in law or in            identity. The Section 1981 and ECOA counts at issue here
fact that simply using the plural pronoun ‘those’ is anti-          are brought solely by Corporate Plaintiffs. (R. 1, Compl.¶¶
Semitic.” (Id.) Additionally, Arrowsmith asserts that “while        114–124.) Specifically, Corporate Plaintiffs allege that they
the discrimination claims are asserted by Corporate Plaintiffs,     are members of a protected minority because they have
the conduct alleged to be discriminatory relates only to            acquired a racial and religious identity with a minority group,
the Schwartzbergs.” (Id.) Therefore, Arrowsmith concludes,          namely Jews, and that Arrowsmith discriminated against
“without any allegation of direct discrimination against            them because of their Jewish identity. (R. 1, Compl.¶¶ 115–
Corporate Plaintiffs—the parties asserting the claims—the           116, 120, 123.)
claims must be dismissed.” (Id.)
                                                                    The threshold question with respect to the Section 1981
                                                                    and ECOA claims is whether Corporate Plaintiffs have
   A. Discrimination claims under Section 1981 and the              acquired a racial or religious identity. In Village of Arlington
   ECOA                                                             Heights v. Metropolitan Housing Development Corporation,
Section 1981 prohibits discrimination in the “mak[ing] and          429 U.S. 252, 264 (1977), the Supreme Court stated in
enforc[ment of] contracts.” 42 U.S.C. § 1981. Although              dicta that a corporation has no racial identity and therefore
Section 1981 does not use the term “race,” the Supreme              cannot be the direct target of discrimination. Since Village of
Court has construed Section 1981 to “forbid all ‘racial’            Arlington Heights, however, various federal appellate courts
discrimination in the making of private as well as public           have found that under some circumstances “a corporation
contracts.” Saint Francis Coll. v. Al–Khazraji, 481 U.S.            may have standing to allege racial discrimination.” Triad
604, 609 (1987) (citing Runyon v. McCrary, 427 U.S. 160             Assocs., Inc. v. Chi. Hous. Auth., 892 F .2d 583, 591 (7th
(1976)). To state a prima facie claim of discrimination             Cir.1989) (remanding where the district court did not properly
under Section 1981, a plaintiff must allege “that (1) he            consider the implications of post-Village of Arlington Heights
is a member of a racial minority; (2) the defendants had            precedent), overruled on other grounds by Bd. of Cnty.
the intent to discriminate on the basis of race; and (3)            Comm'rs v. Umbehr, 518 U.S. 668, 673 (1996); see also
the discrimination concerned the making or enforcing of a           Thinket Ink Info. Res., Inc. v. Sun Microsystems, Inc., 368 F.3d
contract.” Pourghoraishi v. Flying J, Inc., 449 F.3d 751, 756       1053, 1058–59 (9th Cir.2004). The Supreme Court itself has
(7th Cir.2006) (citing Morris v. Office Max, Inc., 89 F.3d 411,     recognized that the Courts of Appeals which have considered
413 (7th Cir.1996)).                                                the issue have concluded that corporations may indeed assert
                                                                    Section 1981 claims. 9 Domino's Pizza, Inc. v. McDonald,
Similarly, the ECOA provides, in relevant part, that “[i]t
                                                                    546 U.S. 470, 473 n. 1 (2006). Although the Seventh
shall be unlawful for any creditor to discriminate against any
                                                                    Circuit has not explicitly addressed the question, other federal
applicant, with respect to any aspect of a credit transaction ...
                                                                    appellate courts have held that corporate entities may assert
on the basis of race, color, religion, national origin, sex or
                                                                    Section 1981 claims in limited circumstances. See Hudson
marital status, or age.” 15 U.S.C. § 1691(a)(1); see also 12
                                                                    Valley Freedom Theater, Inc. v. Heimbach, 671 F.2d 702,
C.F.R. § 202.4(a). The ECOA creates a private right of action
                                                                    705–07 (2d Cir.1982). Circumstances in which a corporate
for actual and punitive damages, equitable and declaratory
                                                                    entity may bring suit under Section 1981 include cases in
relief, and recovery of costs and attorneys' fees. 15 U.S.C. §
                                                                    which a corporation is owned entirely by shareholders of
1691e(a)-(d). To state a prima facie claim of discrimination
                                                                    a single race, Amber Pyramid, Inc. v. Buffington Harbor
under the ECOA, plaintiffs must allege that they were
                                                                    Riverboats, LLC, 129 Fed. App'x. 292, 294 (7th Cir.2005)
applicants, as defined by the ECOA, and that defendants
                                                                    (allowing corporation owned by two African–American
treated them less favorably because of their race or religion.
                                                                    sisters to maintain a suit under Section 1981), cases in which
16 U.S.C. § 1691(a)(1); 12 C.F.R. § 202.2(n) (“Discriminate
                                                                    a corporation has acquired a protected identity pursuant to a
against an applicant means to treat an applicant less favorably
                                                                    government designation, Thinket Ink Info. Res., Inc., 368 F.3d



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                              4
        Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 70 of 76 PageID #:209
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)


at 1060 (holding that a corporate plaintiff, which was entirely    not the Schwartzbergs themselves, purchased nursing and
owned by African–Americans, and certified by the Unites            assisted living facilities, (R. 1, Compl.¶ 31.) The complaint
States Small Business Administration as a “minority-owned          also alleges that Corporate Plaintiffs, who operate the
business,” had standing to bring a Section 1981 action), or        nursing and assisted living facilities, are “led by qualified,
cases in which a corporation is “established for the very          licensed professionals,” (id. ¶ 32), and not the Schwartzbergs
purpose of advancing minority interests,” Hudson Valley, 671       themselves or anyone else that would qualify as being
F.2d at 705. Other circumstances in which corporations have        a member of a protected minority. Indeed, the complaint
been found to have an imputed racial identity are “when            also suggests that the Schwartzbergs' affiliates purchased
the owner, majority of shareholders and/or president are           the nursing and assisted living facilities with the intent of
members of the specific class that is alleged to have been         improving the experience of the facilities' residents, and not
discriminated against.” Contemporary Pers., Inc. v. Godiva         with the intent of advancing Jewish interests. (Id. ¶ 31.) The
Chocolatier, Inc., No. 09–00187, 2009 WL 2431461, at *2            allegations set forth by Corporate Plaintiffs are inadequate to
(E.D.Pa. Aug. 6, 2009) (collecting cases).                         establish that they have acquired a racial or religious identity.
                                                                   See Cholla Ready Mix, Inc. v. Civish, 382 F.3d 969, 977–
 *7 Here, Corporate Plaintiffs summarily allege that they          78 (9th Cir.2004) (dismissing a Section 1981 claim because
are each legal entities that have “acquired a racial and           the corporate plaintiff failed to allege facts from which the
religious identity with a minority group protected by the          court could infer that the plaintiff had an imputed racial
safeguards of [Section 1981 and the ECOA].” (R. 1,                 identity); Prestige Rests. & Entm't Inc. v. Bayside Seafood
Compl.¶¶ 115, 120.) The specific facts that Corporate              Rest., Inc., No. 09–23128–CIV, 2010 WL 680905, at *1, *7
Plaintiffs rely upon to establish that they have acquired a        n. 9 (S.D.Fla. Feb. 23, 2010) (requiring dismissal of Section
minority identity are that Harris Schwartzberg is a Jewish–        1981 claim where the corporate plaintiff simply alleged that it
American businessman, (R. 1, Compl. at 2), and that “the           was discriminated against because of its patrons' race because
Schwartzbergs, through their affiliates, purchased nursing and     the allegations were not adequate to establish that the plaintiff
assisted living facilities with the intent of improving the        had assumed a racial identity); Contemporary Pers., Inc.,
experience of the residents. Each of the facilities affiliated     2009 WL 2431461, at *1–2 (dismissing a Section 1981 action
with the Schwartzbergs are operated through companies,             where the complaint failed to allege the race of the corporate
led by qualified, licensed professionals who hire, train,          plaintiff's owner, president, or shareholders, or the racial
and maintain, the best available nurses, managers, and             make-up of its workforce).
administrators.” (Id. ¶¶ 31–32.) Corporate Plaintiffs further
allege that Arrowsmith discriminated against them on the            *8 Plaintiffs fail to inform the Court whether Schwartzberg
basis of their Jewish identity. (Id. ¶¶ 116–117, 123.)             is the direct owner of Corporate Plaintiffs, the sole owner,
                                                                   sole shareholder, or even majority shareholder of Corporate
These allegations fail to provide the Court with a factual         Plaintiffs, and for this reason the cases relied upon by
basis for finding that Corporate Plaintiffs have acquired a        Plaintiffs to support their argument that they have established
racial or religious identity. Plaintiffs do not allege any facts   a racial or religious identity, are distinguishable. See, e.g.,
regarding the ownership structures of Corporate Plaintiffs,        Bains LLC v. Arco Prods. Co., 405 F.3d 764, 770 (9th
whether Corporate Plaintiffs have been certified as having         Cir.2005) (corporation acquired an imputed racial identity
minority identities by a government institution, or whether        where corporation was owned entirely by Sikh shareholders);
Corporate Plaintiffs' purposes are to serve or advance Jewish      T & S Serv. Assocs., Inc. v. Crenson, 505 F.Supp. 938, 943
interests. For instance, the complaint does not identify           (D.R.I.1981) (corporate plaintiff properly alleged Section
whether the Schwartzbergs are the sole shareholders or             1981 claim where sole owner of corporate plaintiff was
majority shareholders of Corporate Plaintiffs. See, e.g.,          African–American), vacated and remanded on other grounds,
Amber Pyramid, Inc., 129 Fed. App'x, at 294. Nor does              666 F.2d 722 (1st Cir.1981); Shah v. Am. Bottling Co., Inc.,
the complaint allege any facts to demonstrate that Corporate       No. 07–1042, 2008 WL 718435, at *4 (C.D.Ill. Mar. 14,
Plaintiffs are closely held companies owned and operated           2008) (corporate plaintiff acquired an “imputed racial social
by the Schwartzbergs. Instead, the complaint's allegations         identity” from sole shareholder and operator, who was born in
suggest that Corporate Plaintiffs are not directly owned           India); Calderon v. SW Bell Mobile Sys., LLC, 390 F.Supp.2d
by members of a protected minority group. For example,             714, 717 (N.D.Ill.2005) (closely held corporation of which
the complaint alleges that the Schwartzbergs' affiliates, and      a Mexican national was the majority stockholder, as well



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                              5
        Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 71 of 76 PageID #:210
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)


as the president, owner and operator, acquired an imputed         should therefore be barred. (R. 29, Arrowsmith's Mem. at
racial identity and therefore had standing to pursue a Section    21–24; R. 37, Arrowsmith's Reply at 13–14.) An action for
1981 action); Florence Urgent Care v. Healthspan, Inc.,           an accounting is an action based in contract. 1 Am.Jur.2d
445 F.Supp.2d 871, 877 (S.D.Ohio 2006) (corporate plaintiff       Accounts and Accounting § 8 (2012). Therefore, an action
owned entirely by doctors of Arab descent had a racial            on an account must be founded on a contract, either express
identity); Howard Sec. Servs., Inc. v. Johns Hopkins Hosp.,       or implied. Id. Because Arrowsmith is not a party to the
516 F.Supp. 508, 513 (D.Md.1981) (corporation that was            loans at issue, there is no contractual basis for the requested
wholly owned and operated by African–American plaintiff           accounting. Accordingly, the Court dismisses Count V.
had a cause of action under Section 1981).

Seeking to avoid this result, Plaintiffs argue that their         II. Petition for fees
complaint “alleges that the Schwartzbergs are the ultimate        Arrowsmith also petitions the Court for an order directing
beneficial owners of the [Corporate Plaintiffs], and that         Plaintiffs to pay him $29,979.00 in fees. (R. 58, Arrowsmith's
[Corporate Plaintiffs] acquired a racial identity from their      Am. Pet.) This amount represents the attorneys' fees incurred
Jewish owners and managers.” (R. 33, Pls.' Mem. at                by Arrowsmith in (1) litigating the New York Action, and
16.) Plaintiffs assert that “Arrowsmith saw the [Corporate        (2) researching, drafting, and filing the Costs Motion, which
Plaintiffs] as extensions of the Schwartzbergs in all             this Court granted on August 10, 2011. (Id. at 1.) According
respects, including their Jewish identity, and ‘assault [ed]’     to Arrowsmith, his counsel incurred fees of $16,269.00 in
them because of it” (Id.) Furthermore, they contend that          researching case law concerning Plaintiffs' two statutory
“GE Financial's correspondence regarding the Operating            discrimination claims in the Second Circuit and the Southern
Loan repeatedly referred to the ‘Schwartzbergs'... thereby        District of New York, and in drafting a motion to dismiss
demonstrating that Lenders consider the Schwartzbergs and         that relied on that case law in the New York Action. (Id.
[Corporate Plaintiffs] as one and the same.” (Id. at 16–17.)      at 2.) Arrowsmith asserts that his counsel would not have
According to Plaintiffs, “[t]hese allegations are more than       incurred these expenses if Plaintiffs had filed the action in
sufficient to establish that [Corporate Plaintiffs] acquired a    the Northern District of Illinois in the first instance. (Id.)
Jewish identity and have standing to assert claims under          With respect to the Costs Motion, Arrowsmith asserts that
Section 1981.” (Id. at 17 .) As discussed above, however,         his counsel incurred fees of $13,710.00 for researching,
Plaintiffs' arguments find no support in their complaint. The     drafting, and filing the Costs Motion that would not have
Court further notes that Plaintiffs never sought leave to amend   been necessary had Plaintiffs not filed their action in New
their complaint throughout the pendency of Defendants'            York, voluntarily dismissed that action, and then re-filed their
motion to dismiss. The Court reminds Plaintiffs mat they          action in the Northern District of Illinois. (Id. at 2.) According
cannot amend their complaint through their opposition briefs.     to Arrowsmith, the fees his counsel seek “relate to him
Pirelli Armstrong Tire Corp. Retiree Med. Benefits Trust v.       individually or alternatively, to all Defendants collectively
Walgreen Co., 631 F.3d 436, 448 (7th Cir.2011) (noting the        (including him), and thus, would have been incurred had Mr.
“axiomatic rule that a plaintiff may not amend his complaint      Arrowsmith been the only defendant in the action.” (Id. at 3.)
in his response brief”); see also Car Carriers, Inc. v. Ford
Motor Co., 745 F.2d 1101, 1107 (7th Cir.1984) (a “complaint       Plaintiffs present several arguments to support their position
may not be amended by the briefs in opposition to a motion        that Arrowsmith is not entitled to attorneys' fees. (R. 61,
to dismiss”). Because Corporate Plaintiffs have failed to         Pls.' Resp. at 4–13.) First, Plaintiffs argue that Arrowsmith
sufficiently allege in their complaint that they acquired a       has not shown, as a matter of law, that he is entitled to
racial identity, the Court dismisses Counts I and II of their     attorneys' fees under Esposito v. Piatrowski, 223 F.3d 497,
complaint.                                                        501 (7th Cir.2000). (Id. at 4, 6–9.) Second, Plaintiffs argue
                                                                  that Arrowsmith has not established that he has incurred any
                                                                  attorneys' fees. (Id. at 4, 9–10.) Plaintiffs also argue that
  B. Action for an accounting                                     Arrowsmith has not established that the attorneys' fees he
 *9 In Count V, asserted against all Defendants,                  seeks to recover are reasonable, (id. at 4, 11), nor has he
Plaintiffs seek an accounting “regarding the management,          demonstrated that all of the work performed by the Fulbright
administration, and handling of the loans.” (R. 1, Compl.¶        and Jenner attorneys was unnecessary or inapplicable to
137.) Defendants argue that Plaintiffs released this claim        litigating the instant suit in the Northern District of Illinois,
under the terms of the Operating Loan, and that Count V           (id. at 4, 12–13). Alternatively, Plaintiffs request that the


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               6
         Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 72 of 76 PageID #:211
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)


Court grant them leave to take limited discovery to determine        be awarded by order of the court under certain factual
whether Arrowsmith incurred any of the attorneys' fees               circumstances ... One such example is the courts' inherent
sought and, if so, the amount of such fees. (Id. at 4.) For          authority to order a party acting in bad faith to pay for
the reasons discussed below, the Court awards Arrowsmith             the attorneys' fees of its adversary.”) (citing F.D. Rich Co.,
$28,518.05 in fees.                                                  Inc. v. United States ex rel. Indus. Lumber Co., Inc., 417
                                                                     U.S. 116 (1974)); Chambers v. Nasco, Inc., 501 U.S. 32,
                                                                     45–46 (1991) (“a court may assess attorney's fees when a
   A. Legal basis for awarding attorneys' fees                       party has acted in bad faith, vexatiously, wantonly, or for
 *10 Federal courts generally may not provide an award               oppressive reasons”) (citations and internal quotation marks
of attorneys' fees absent a statute or contractual provision         omitted); Mañez v. Bridgestone Firestone N. Am. Tire, LLC,
authorizing such an award. Esposito v. Piatrowski, 223               533 F.3d 578, 591 (7th Cir.2008) (noting that “courts retain
F.3d 497, 500 (7th Cir.2000); Alyeska Pipeline Serv. Co.             inherent power to punish the full range of litigation abuses,”
v. Wilderness Soc'y, 421 U.S. 240, 257 (1975). Here,                 which includes punishing a party “for an act that inflict[s]
Arrowsmith seeks the recovery of legal fees pursuant to Rule         needless costs on the court and the defendants”). Esposito did
41(d). Plaintiffs attempt to block Arrowsmith from recovering        not change the long-standing rule establishing the inherent
attorneys' fees and argue that, as a matter of law, Arrowsmith       power of district courts to award attorneys' fees. Indeed, after
is not entitled to recovery any attorneys' fees as part of the       reaching its holding in Esposito, the Seventh Circuit clarified
“costs” that Rule 41(d) contemplates. (R. 61, Pls.' Resp. at 6–      that “attorneys' fees are not a recoverable cost of litigation
10.)                                                                 under Rule 41(d) unless the substantive statute which formed
                                                                     the basis of the original suit allows for the recovery of such
Rule 41(d) states, in relevant part: “If a plaintiff who             fees as costs (or unless such fees are specifically ordered by
previously dismissed an action in any court files an action          the court).” 223 F.3d at 501 (emphasis added). Accordingly,
based on or including the same claim against the same                contrary to Plaintiffs' argument, the Court possesses the
defendant, the court ... may order the plaintiff to pay all or       inherent authority to specifically order attorneys' fees under
part of the costs of that previous action[.]” Fed.R.Civ.P. 41(d).    Rule 41(d). Here, the Court previously ordered the imposition
Rule 41(d) refers to “costs,” but it fails to specify whether that   of such fees on Plaintiffs when it granted Defendants' Costs
term includes attorneys' fees. The Advisory Committee Notes          Motion and requested that Defendants submit a petition for
also fail to address the question. See Esposito, 223 F.3d at 501     costs. (R. 59–1, Ex. 1, Aug. 10, 2011 Tr. at 8:9–15; R. 20,
(noting that the Advisory Committee Notes do not indicate            Min. Entry.) In so doing, it recognized that Plaintiffs had
whether such costs include attorneys' fees). Recognizing this        unnecessarily filed their complaint in the Southern District of
ambiguity, the Seventh Circuit reasoned in Esposito that             New York. (R. 59–1, Ex. 1, Aug. 10, 2011 Tr. at 10:15–17.)
“[b]ecause Rule 41(d) does not refer to costs any differently        The Court's order is consistent with Esposito, 223 F.3d at 501,
than does 18 U.S.C. § 1920, which provides the statutory             which recognized that “awarding [attorneys'] fees as part of
specification of allowable costs, fees may be included as            costs advances the purpose of Rule 41(d), which is to deter
costs only where the underlying statute so provides.” Id.            forum shopping and vexatious litigation.”
Therefore, the Seventh Circuit held “that a party may recover
reasonable attorneys' fees as part of its ‘costs' under Rule
41(d) only where the underlying statute defines costs to                B. Amount of attorneys' fees
include attorneys' fees.” Id. Thus, Plaintiffs argue, that under      *11 Having found that Rule 41(d) is applicable, and that
Esposito, “courts may only award attorneys fees as ‘costs'           the Court may impose attorneys' fees on Plaintiffs, the Court
under Rule 41(d) when the underlying statute would have              next determines the appropriate amount of the award of
allowed for the recovery of attorneys' fees.” (R. 61, Pls.’ Resp.    attorneys' fees. Failing to cite any case law, Plaintiffs argue
at 6) (citing Esposito, 223 F.3d at 501).                            that Arrowsmith has failed to establish that he incurred any
                                                                     attorneys' fees in connection with the voluntary dismissal
Plaintiffs' argument on this point is without merit. Plaintiffs      of the New York Action. (R. 61, Pls.' Resp. at 4, 9–10.)
fail to recognize that district courts have the inherent             According to Plaintiffs, “it appears that the Entity Defendants
authority to order an award of attorneys' fees under certain         incurred and paid all of the legal fees that Arrowsmith now
circumstances, such as where a party has acted in bad faith          seeks to recover.” (Id at 9.) Plaintiffs' argument is based on
or inflicted unnecessary costs on the court or the defendants.       nothing more than mere speculation. As Arrowsmith points
See Esposito, 223 F.3d at 500 n. 5 (“Attorneys' fees may             out, the fees his counsel seek “relate to him individually or


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               7
         Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 73 of 76 PageID #:212
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)


alternatively, to all Defendants collectively (including him),       Action. (Id. at 4–5.) Additionally, Arrowsmith claims that
and thus, would have been incurred had Mr. Arrowsmith                Jami Vibbert, a Fulbright associate who graduated law school
been the only defendant in the action.” (R. 58, Arrowsmith's         in 2007 and bills her clients at an hourly rate of $273.00,
Am. Pet. at 3.) District courts have inherent power “to              expended 50.5 hours on the New York Action. (Id.) To support
fashion an appropriate sanction for conduct which abuses             his fee petition, Arrowsmith submitted Fulbright's invoices
the judicial process.” Chambers, 501 U.S. at 4445. Such              for the work its associates completed while representing
sanctions are appropriate where a litigant has “abused the           Arrowsmith in the New York Action. (R. 59–2, Ex. 2, Invoice
judicial process or otherwise conducted litigation in bad            No. 11196925.)
faith.” Salmeron v. Enter. Recovery Sys., Inc., 579 F.3d 787,
793 (7th Cir.2009) (citing Maynard v. Nygren, 332 F.3d                *12 After reviewing Fulbright's invoices, the Court first
462, 470–71 (7th Cir.2003)). Here, the Court has already             notes that Arrowsmith has failed to precisely indicate the
determined that Plaintiffs abused the judicial process, and          billing entries for which he is seeking attorneys' fees.
pursuant to its inherent authority, the Court will fashion an        Additionally, none of the billing entries indicate that the
appropriate sanction.                                                research conducted by O'Connell and Vibbert on the two anti-
                                                                     discrimination statutes focused solely on the Second Circuit
Where a case is voluntarily dismissed and re-filed by the            or the federal district courts in New York, and the Southern
plaintiff, attorneys' fees are awarded to the defendant to           District of New York in particular. Indeed, Arrowsmith relied
compensate for the unnecessary expenses incurred by the              on at least one case from the Second Circuit in drafting
litigation. Cauley v. Wilson, 754 F.2d 769, 772 (7th Cir.1985).      their motion to dismiss in this case, in addition to case law
Generally, courts “should not impose any costs associated            from other Circuit Courts of Appeals, which suggests that
with work that will still be useful to the defendants in             Arrowsmiths' research of the Second Circuit precedent was
the instant litigation.” Oteng v. Golden Star Res., Ltd., 615        not entirely useless. The Court therefore has difficulty finding
F.Supp.2d 1228, 1240 (D.Colo.2009) (citing Esquivel v. Arau,         that all of the defense's initial research for the New York
913 F.Supp. 1382, 1386 (C.D.Cal.1996)); see also Westlands           action was unnecessary and not useful in defending the instant
Water Dist. v. United States, 100 F.3d 94, 97 (9th Cir.1996)         action. That said, O'ConneU and Vibbert spent time meeting
(remanding to the district court to consider, inter alia, whether    to discuss the research and to strategize on the motion to
to condition a voluntary dismissal under Rule 41(a)(2) on            dismiss in the New York Action. The strategy employed
the payment of costs and attorney fees, and instructing the          by the defense in the New York Action is likely to have
district court that “if [it] decides it should condition dismissal   been materially different than the strategy employed by the
on the payment of costs and attorney fees, the defendants            defense in the instant action as the motion to dismiss had to
should only be awarded attorney fees for work which cannot           be filed in a different judicial venue. Therefore, the Court
be used in any future litigation on these claims.”) (citing          will allow for the recovery of those billing entries indicating
Koch v. Hankins, 8 F.3d 650, 652 (9th Cir.1993)); Copeland v.        that O'ConneU and Vibbert met and conferred regarding
Hussmann Corp., 462 F.Supp.2d 1012, 1024 (E.D.Mo.2006)               the statutory discrimination arguments to be made in the
(allowing award of “attorneys' fees for any work done in the         motion to dismiss in the New York Action. Specifically, the
previously dismissed case that is useless in the present case”).     Court allows Arrowsmith to recover attorneys' fees for two
                                                                     meetings that O'Connell and Vibbert held on June 13 and June
                                                                     14, for .20 hours and 1.4 hours respectively, for a total of
   1. Unnecessary work related to the New York Action                $1,048.00.
Prior to the dismissal of the New York Action, Arrowsmith
asserts that his counsel, from the law firm of Fulbright             Vibbert also spent time researching pleading standards and
& Jaworski L.L.P. (“Fulbright”), incurred $16,093.00 in              motions to dismiss pursuant to Rule 12(b)(6). Based on
attorneys' fees for defending the New York Action. (R. 59,           the Court's experience with such matters, this research is
Arrowsmith's Mem. at 3.) Arrowsmith seeks attorneys' fees            likely to have been focused almost exclusively on Second
for 57 billable hours spent by his attorneys researching             Circuit precedent. Therefore, although the Court will not
the two anti-disccrimination statutes at issue and drafting a        aUow Arrowsmith to recover fees for time spent generaUy
motion to dismiss the New York Action. (Id at 5.) Arrowsmith         researching the two anti-discrimination statutes that Plaintiffs
asserts that Sarah O'Connell, a senior associate at Fulbright,       allege Arrowsmith violated, the Court will allow Arrowsmith
who graduated law school in 2002 and bills her clients at an         to recover one-half of the time for those billing entries
hourly rate of $382.00, expended 6.5 hours on the New York


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               8
        Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 74 of 76 PageID #:213
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)


constituting Vibber's research of pleading standards and Rule     working on the Costs Motion and that Vibbert billed 16.8
12(b) (6) cases. Specifically, the Court allows Arrowsmith        hours for her work on the Costs Motion. (Id. at 6.) Arrowsmith
to recover for 1.3 hours of research conducted on June 14,        also states that Barbara Steiner, another partner at Jenner who
1.2 hours of research conducted on June 16, 1.55 hours of         bills her clients at an hourly rate of $630.00, spent .6 billable
research conducted on June 20, and 2.6 hours of research          hours on the Costs Motion. (Id at 4, 6.) David Saunders, an
conducted on June 21, for a total of $1,815.45.                   associate at Jenner who graduated from law school in 2007
                                                                  and bills his clients at an hourly rate of $315.00, billed 5 hours
In addition, both O'Connell and Vibbert spent time drafting a     on the Costs Motion. (Id. at 5–6.)
motion to dismiss intended to be filed in the Southern District
of New York, and although it is plausible that they could         “The Seventh Circuit teaches that attorney's fees incurred in
have made substantially similar arguments before this Court       litigating and establishing an attorney's entitlement to fees
as those contained in their motion to dismiss for the Southern    are generally compensable.” Holmstrom v. Metro. Life Ins.,
District of New York, it is unlikely that they could have         Co., No. 07–CV–6044, 2011 WL 2149353, at *8 (N.D.Ill.
replicated that work verbatim into a new document to be filed     May 31, 2011) (citing Bond v. Stanton, 630 F.2d 1231, 1235
before this Court. The Court will therefore allow Arrowsmith      (7th Cir.1980)). In their response to Arrowsmith's amended
to recover one-half of the billing entries representing the       petition for fees, Plaintiffs do not contest the amount of fees
time that O'Connell and Vibbert spent drafting or revising the    sought for the Costs Motion. (R. 61, Pls.' Resp.)
motion to dismiss. Specifically, the Court allows Arrowsmith
to recover 3.9 hours for July 14, 2.7 hours for July 15, 3.9      The Court finds that the fees incurred by Arrowsmith in
hours for July 18, and 4.8 hours for July 19 for Vibbert's        bringing the Costs Motion are appropriate and that they
work. Additionally, the Court allows Arrowsmith to recover        help further the purpose of Rule 41(d), which is, in part, to
1.7 hours for July 18, 1.85 hours for July 19, and 1.15 hours     prevent vexatious litigation. See Esposito, 223 F.3d at 501.
for July 20 for O'Connell's work. Therefore, Arrowsmith           Had Plaintiffs originally filed this action in this District, or
is entitled to recover $11,944.60 for the time that either        had Plaintiffs not chosen to re-file this action, Arrowsmith
O'Connell or Vibbert spent drafting and revising a motion to      would not have had to expend time drafting the Costs Motion.
dismiss that was intended to be filed in the Southern District    Because the invoices support his request, in the exercise of its
of New York, but due to the change in venue had to be filed       discretion, the Court grants Arrowsmith the attorneys' fees for
in the Northern District of Illinois.                             the time spent in preparing, researching, drafting, and filing
                                                                  the Costs Motion. Thus, the Court awards Arrowsmith the
 *13 In the exercise of its discretion, the Court finds that      full $13,710.00 in attorneys' fees associated with bringing
Arrowsmith may recover $14,808.05 in attorneys' fees for          the Costs Motion. Therefore, in the exercise of its discretion,
work that the Court determines was unnecessary and not            the Court concludes that Arrowsmith is entitled to recover
useful to the instant action.                                     from Plaintiffs a total of $28,518.05 in costs pursuant to Rule
                                                                  41(d). Since the Court grants Arrowsmith's amended petition
                                                                  for fees, Plaintiffs' alternative request for limited discovery is
   2. Unnecessary work related to the Costs Motion                denied.
In addition, Arrowsmith argues that he should also be
compensated for expenses incurred in researching, drafting,
and filing the Costs Motion. (R. 58, Arrowsmith's Mot. at
2.) Following the Plaintiffs' voluntary dismissal of the New                             CONCLUSION
York Action, Arrowsmith incurred $13,710.00 in attorneys'
                                                                   *14 For the foregoing reasons, the Court GRANTS
fees for work performed by Fulbright attorneys and attorneys
                                                                  Arrowsmith's motion to dismiss (R. 25), GRANTS
from the law firm of Jenner & Block L.L.P. (“Jenner”) on the
                                                                  Arrowsmith's motion to reconsider (R 47), and GRANTS
Costs Motion. (R. 59, Arrowsmith's Mem. at 3.) Specifically,
                                                                  Arrowsmith his amended petition for fees (R. 58), in the
Arrowsmith asserts that Fulbright and Jenner attorneys spent
                                                                  amount of $28,518.05. The Court directs the Clerk to enter a
a total of 38.4 billable hours on the Costs Motion. (Id at
                                                                  final judgment in favor of defendant Arrowsmith and against
6.) According to Arrowsmith, Linda Addison, a partner at
                                                                  Plaintiffs.
Fulbright who bills her clients at an hourly rate of $634.00,
spent 4.2 billable hours on the Costs Motion. (Id. at 4, 6.)
Arrowsmith asserts that O'Connell spent 11.8 billable hours


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               9
        Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 75 of 76 PageID #:214
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)



All Citations

Not Reported in F.Supp.2d, 2012 WL 6061710




                                                      Footnotes


1      Plaintiffs include the following entities and individual: New Louisiana Holdings, LLC; Fountain View
       215 Tenant LLC; Jackson Manor 1691 Tenant LLC; Panola 501 GP LLC; Retirement Center 14686
       Tenant LLC; Acadian 4005 Tenant LLC; Lakewood Quarters Rehab 8225 Tenant LLC; Regency 14333
       Tenant LLC; Sherwood 2828 Tenant LLC; Lakewood Quarters Assisted 8585 Tenant LLC; Panola 501
       Partners LP; Citiscape Out Parcel Tenant LLC; Citiscape 5010 Tenant LLC; St Charles 1539 Tenant LLC;
       Woodland Village 5301 Tenant LLC; Atrium 6555 Tenant LLC (collectively, “Corporate Plaintiffs”); and Harris
       Schwartzberg.
2      As explained below, because the Entity Defendants have been dismissed, Arrowsmith is the only remaining
       defendant. The Court thus refers to Defendants' motion to dismiss as Arrowsmith's motion.
3      Also before the Court is Arrowsmith's Motion to Reconsider (R. 47), the Court's June 4, 2012 Minute Entry
       (R. 46), denying as moot Defendants' Petition for Fees on the basis of an agreed order of dismissal as to the
       Entity Defendante. Because the agreed order of dismissal only applied to the Entity Defendants, and not to
       Arrowsmith, and because the Petition for Fees was filed on behalf of all Defendants, including Arrowsmith,
       the Court grants Arrowsmith's Motion to Reconsider.
4      The limitations on what the Court may consider on a motion to dismiss pursuant to Rule 12(b)(6) are
       attenuated by Rule 10(c) insofar as “documents attached to the complaint, documents that are critical to the
       complaint and referred to in it, and information that is subject to proper judicial notice” may all be considered by
       the Court without converting a motion to dismiss into amotion for summary judgment. Geinosky v. City of Chi.,
       675 F.3d 743,745 n. 1 (7th Cir.2012) (citing Fed.R.Civ.P. 10(c)). Although Plaintiffs failed to attach a copy of
       the Operating Loan to their complaint, Defendants attached the agreement to their motion to dismiss. (R. 29–
       1, Ex. A, Credit and Security Agreement (Revolving Credit and Term Loan) dated as of January 18, 2006.)
       Documents that defendants attach to a motion to dismiss will be considered part of the pleadings if they are
       referred to in the plaintiff's complaint and are central to the plaintiff's claims. Venture Assocs. Corp. v.. Zenith
       Data Sys. Corp., 987 F.2d 429, 431 (7th Cir.1993) (“[A] defendant may introduce certain pertinent documents
       if the plaintiff failed to do so. Documents that a defendant attaches to a motion to dismiss are considered
       part of the pleadings if they are referred to in the plaintiff's complaint and are central to her claim.”) (internal
       citations omitted) (collecting cases); see also 5A Charles A. Wright & Arthur R. Miller, Federal Practice and
       Procedure, § 1327 (3d ed.2012). Here, because the complaint repeatedly refers to the Operating Loan, and
       because the Operating Loan is central to Plaintiffs' claims, the Court considers the Operating Loan submitted
       by Defendants to be part of the pleadings.
5      The current lenders are GE Financial, CIT, and Marathon (the “Lenders”). (R. 1, Compl.¶ 50.)
6      The complaint in the New York Action contains the same causes of action and is substantially the same as
       the complaint filed in the instant action. (See R. 9–6, Ex. 6, Redline.)
7      Counts III and IV are asserted against the Lenders, which consist of GE Financial, CIT, and Marathon, and
       so those claims are no longer viable because they are only alleged against defendants who are no longer
       parties to this suit (R. 1, Compl. ¶¶ 125–135; R. 45, Order of Dismissal.) In Count VI, Schwartzberg sought
       a declaratory judgment “as to the rights and other legal relations of Harris Schwartzberg and Lenders.” (Id.
       ¶ 142.) Because a controversy no longer exists between Schwartzberg and the Lenders, the Court finds the
       request contained in Count VI moot.




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                    10
       Case: 1:20-cv-04176 Document #: 32 Filed: 02/08/21 Page 76 of 76 PageID #:215
New Louisiana Holdings, LLC v. Arrowsmith, Not Reported in F.Supp.2d (2012)


8     According to the complaint, each of the Corporate Plaintiffs is also a borrower under the Operating Loan.
      (R. 1, Compl.¶¶ 1–16, 42.) Accordingly, the complaint refers to Corporate Plaintiffs as Operating Borrowers.
      (See, e.g., id. ¶ 42.)
9     Both Plaintiffs and Arrowsmith agree that the analysis of whether Plaintiffs' complaint sufficiently alleges that
      Arrowsmith discriminated against them on the basis of race and/or religion for purposes of Section 1981 is
      equally applicable to the ECOA claim. (R. 33, Pls.' Mem. at 22 n. 43; R. 24–1, Defs.' Mem. at 14 n. 8.)


End of Document                                          © 2020 Thomson Reuters. No claim to original U.S. Government Works.




             © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        11
